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                      EXHIBIT N
                  D.F. et al., v. Sikorsky Aircraft Corporation, et al.
                      USDC Case No.: 13:cv-00331-GPC-KSC
                  (Exhibits to Declaration of Marshall J. Shepardson
             In Support of Opposition to Motion for Summary Judgment)
Case 3:13-cv-00331-GPC-KSC Document 173-14 Filed 07/06/17 PageID.9593 Page 2 of 74




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                         6287+(51',675,&72)&$/,)251,$
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       $0$'25LQGLYLGXDOO\DQGDVVXFFHVVRULQ
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Case 3:13-cv-00331-GPC-KSC Document 173-14 Filed 07/06/17 PageID.9594 Page 3 of 74



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         ϱ͘ϯ     >ĂŶĚŝŶŐ'ĞĂƌͬƚƚŝƚƵĚĞͬůƚŝƚƵĚĞͬdŽǁdĞŶƐŝŽŶtĂƌŶŝŶŐ^ǇƐƚĞŵ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϲ

         ϱ͘ϰ     >ĂŶĚŝŶŐ'ĞĂƌǆƚĞŶƐŝŽŶͬZĞƚƌĂĐƚŝŽŶ/ŶƚĞƌůŽĐŬƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϲ

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           ϱ͘ϰ͘ϲ        'ĞĂƌ,ĂŶĚůĞŽǁŶͲ>ŽĐŬZĞůĞĂƐĞ^ŽůĞŶŽŝĚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϮϬ

           ϱ͘ϰ͘ϳ        'ĞĂƌWŽƐŝƚŝŽŶ,ĂŶĚůĞ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϭ

           ϱ͘ϰ͘ϴ        'ĞĂƌ^ĂĨĞƚǇWŝŶƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϮϮ


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   ϲ͘     ĐĐŝĚĞŶƚ/ŶǀĞƐƚŝŐĂƚŝŽŶ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϰ

         ϲ͘ϭ       ZĞƉĞĂƚĂďŝůŝƚǇ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϰ

         ϲ͘Ϯ       /ŶƚĞƌůŽĐŬdĞƐƚŝŶŐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϰ

         ϲ͘ϯ       ŝƌĐƌĂĨƚtŝƌŝŶŐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϰ

         ϲ͘ϰ       ŽŶĐůƵƐŝŽŶŽĨ/ŶǀĞƐƚŝŐĂƚŝŽŶ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϱ

   ϳ͘     ŝƌĐƌĂĨƚtŝƌŝŶŐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϱ

         ϳ͘ϭ       <ĂƉƚŽŶtŝƌŝŶŐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϲ

         ϳ͘Ϯ       ^ƉĞĐͲϱϱ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϳ

   ϴ͘     ĐĐŝĚĞŶƚ/ŶǀĞƐƚŝŐĂƚŝŽŶ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϳ

         ϴ͘ϭ       ǆĂŵŝŶĂƚŝŽŶŽĨtŝƌŝŶŐʹŝƌĐƌĂĨƚ'ĞŶĞƌĂů͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϳ

           ϴ͘ϭ͘ϭ          'ĞŶĞƌĂůŽŶĚŝƚŝŽŶ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϴ

           ϴ͘ϭ͘Ϯ          hƚŝůŝƚǇDŽĚƵůĞŽŶŶĞĐƚŽƌƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϯ

         ϴ͘Ϯ       ǆĂŵŝŶĂƚŝŽŶŽĨtŝƌŝŶŐʹ>ĂŶĚŝŶŐ'ĞĂƌhƚŝůŝƚǇDŽĚƵůĞ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϱ

           ϴ͘Ϯ͘ϭ          ĂŐϭʹWϰϵϰ;hƚŝůŝƚǇDŽĚƵůĞWŝŶͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϲ

           ϴ͘Ϯ͘Ϯ          ĂŐϮʹWϰϵϰ;>ĂŶĚŝŶŐ'ĞĂƌŽŶƚƌŽůWĂŶĞůƚŽWϲϳϳͲ/Ϳ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϬ

           ϴ͘Ϯ͘ϯ          ĂŐϯʹWϰϵϰ;hƚŝůŝƚǇDŽĚƵůĞƚŽ:ϲϳϳͲ/Ϳ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϰ

           ϴ͘Ϯ͘ϰ          ZĞŵĂŝŶŝŶŐĂŐƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϴ

         ϴ͘ϯ       ĚĚŝƚŝŽŶĂůdĞƐƚŝŶŐĂŶĚKďƐĞƌǀĂƚŝŽŶƐͲ^D͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϴ

         ϴ͘ϰ       ĚĚŝƚŝŽŶĂůdĞƐƚŝŶŐĂŶĚKďƐĞƌǀĂƚŝŽŶƐͲ>ĞĂŬĂŐĞ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϱϮ

   ϵ͘     ŽŵƉĂƌŝƐŽŶǁŝƚŚWƌĞǀŝŽƵƐĞƐŝŐŶƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϱϯ

   ϭϬ͘          WƌŽďĂďůĞĂƵƐĞŽĨƚŚĞĐĐŝĚĞŶƚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϱϰ

         ϭϬ͘ϭ      ŝƌĞĐƚŽŶƚĂĐƚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϱϰ

         ϭϬ͘Ϯ      ƌĐŝŶŐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϱϰ

         ϭϬ͘ϯ      >ĞĂŬĂŐĞ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϱϲ

           ϭϬ͘ϯ͘ϭ         ůĞĐƚƌŝĐĂů>ĞĂŬĂŐĞ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϱϲ

           ϭϬ͘ϯ͘Ϯ         ,ǇĚƌĂƵůŝĐ>ĞĂŬĂŐĞ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϱϲ

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       ϭϬ͘ϰ      /ŶĚŝƌĞĐƚŽŶŶĞĐƚŝŽŶ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϱϵ

   ϭϭ͘        ĂŵĂŐĞďǇ/ŶƐƵůĂƚŝŽŶdǇƉĞ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϱϵ

   ϭϮ͘        WƌŽƉŽƐĞĚ^ŽůƵƚŝŽŶƐďǇWůĂŝŶƚŝĨĨ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϲϬ

       ϭϮ͘ϭ      ĚĚŝƚŝŽŶĂů/ŶƚĞƌůŽĐŬƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϲϬ

          ϭϮ͘ϭ͘ϭ        WŝŶZĞŵŽǀĂůWƌĞǀĞŶƚŝŽŶ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϲϭ

          ϭϮ͘ϭ͘Ϯ        ĚĚŝƚŝŽŶĂůůĞĐƚƌŝĐĂů/ŶƚĞƌůŽĐŬƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϲϭ

       ϭϮ͘Ϯ      ĚĚŝƚŝŽŶĂů>ĂŶĚŝŶŐ'ĞĂƌ/ŶƚĞƌůŽĐŬƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϲϯ

          ϭϮ͘Ϯ͘ϭ        ǆŝƐƚŝŶŐ/ŶƚĞƌůŽĐŬƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϲϰ

          ϭϮ͘Ϯ͘Ϯ        ĚĚŝƚŝŽŶĂůZĞůĂǇ/ŶƚĞƌůŽĐŬ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϲϲ

   ϭϯ͘        KďƐĞƌǀĂƚŝŽŶƐĂŶĚKƉŝŶŝŽŶƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϲϵ

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   /LVWRI)LJXUHV
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   )LJXUH±%DJ&KDILQJ$EUDVLRQ'DPDJH6SHF
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   7KLVUHSRUWGHWDLOVWKHH[DPLQDWLRQRIGDWDDQGPDWHULDOVUHODWLQJWRWKHDFFLGHQWLQYROYLQJ
   0DULQH&RUSVKHDY\OLIWFDUJRKHOLFRSWHU&+(DWWKH0DULQH+HDY\+HOLFRSWHU6TXDGURQ
   +0+DW0LUDPDU&DOLIRUQLDRQ0DUFK7KLVGRFXPHQWDOVRFRQVLGHUVWKHKLVWRU\
   DQGGRFXPHQWDWLRQFRQFHUQLQJWKHURWRUFUDIWFRQVWUXFWLRQDQGPDWHULDOVVSHFLILFDOO\WKH
   HOHFWULFDOZLULQJ


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    ([DPLQDWLRQVDQG2SLQLRQV

   $GHWDLOHGOLVWRIDOOPDWHULDOVXSRQZKLFKP\RSLQLRQVDUHVSHFLILFDOO\EDVHGLVLQFOXGHGLQWKH
   DWWDFKHGDSSHQGL[RULQWKHVXSSOLHGGDWDDQGLQIRUPDWLRQDVZHOODVGHSRVLWLRQWHVWLPRQ\LQWKLV
   FDVH,QIRUPLQJP\RSLQLRQV,DOVRKDYHUHOLHGXSRQP\UHYLHZRIGRFXPHQWSURGXFWLRQDQG
   FDVHGHSRVLWLRQVURWRUFUDIWDQGSRVWDFFLGHQWZLULQJLQVSHFWLRQVDQGXSRQP\H[SHULHQFHDQG
   NQRZOHGJHRIHOHFWURQLFV\VWHPVDQGWKHLUIDLOXUHPRGHVDVZHOODVP\NQRZOHGJHRI
   HOHFWURQLFVDLUFUDIWV\VWHPVDQGWKHLUXVHDQGRSHUDWLRQ

   ,XQGHUVWDQGWKDWVRPHGRFXPHQWVDQGDGGLWLRQDOLQIRUPDWLRQPD\VWLOOFRPHWROLJKWDQG,
   UHVHUYHWKHULJKWWRVXSSOHPHQWRUPRGLI\P\RSLQLRQVDVVXFKLQIRUPDWLRQPD\EHFRPH
   DYDLODEOH$WWKLVWLPH,DOVRKDYHQRWVHHQWKHUHSRUWRIWKH3ODLQWLII¶VH[SHUWVDQGZKDWHYHU
   RSLQLRQVWKH\PD\H[SUHVVDVWRWKHFDXVHRIWKHDFFLGHQW,WKHUHIRUHUHVHUYHWKHULJKWWRLVVXHD
   UHEXWWDOUHSRUWDGGUHVVLQJWKRVHRSLQLRQV

   $OORSLQLRQVDQGIDFWVVWDWHGKHUHLQDUHWUXHDQGFRUUHFWWRWKHEHVWRIP\NQRZOHGJHDQGDUH
   VXEPLWWHGZLWKDKLJKGHJUHHRIHQJLQHHULQJFHUWDLQW\,IFDOOHGWRWHVWLI\,PD\LOOXVWUDWHP\
   RSLQLRQVZLWKYLVXDODLGVFRPSXWHUJHQHUDWHGYLGHRVDQGHOHFWULFDOPHFKDQLFDOGHPRQVWUDWLYHV
   LQFOXGLQJDQLPDWHGUHSOD\VEDVHGXSRQUHFRUGHGDLUFUDIWGDWDDQGNQRZQDLUFUDIWSHUIRUPDQFH
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    4XDOLILFDWLRQV

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   ,KDYHZRUNHGLQWKHGHVLJQRIFRPSXWHUKDUGZDUHDQGVRIWZDUHIRURYHU\HDUVDQGHOHFWULFDO
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   ,KDYHWDXJKWFRXUVHVLQ(OHFWULFDO(QJLQHHULQJDQG&RPSXWHU6FLHQFHDWWKH8QLYHUVLW\RI7H[DV
   DQGDPFXUUHQWO\WKHRZQHURIDFRPSXWHUDQGWHFKQRORJ\UHVHDUFKFRPSDQ\FDOOHG
   7UL6RIW&\EHU6HDUFKORFDWHGLQ$XVWLQ7H[DV'XULQJP\FDUHHU,KDYHGHVLJQHGDQG
   LPSOHPHQWHGDYDULHW\RIGLJLWDODQGDQDORJV\VWHPVLQFOXGLQJPDQ\IRUXVHLQFRPPHUFLDO
   +HDGRI6WDWHDQGPLOLWDU\DLUFUDIW±DVZHOODVRWKHUPLVVLRQFULWLFDOPDQUDWHGHQYLURQPHQWV,
   KDYHDOVRLPSOHPHQWHGVRIWZDUHDQGKDUGZDUHIRUJURXQGEDVHGDYLDWLRQV\VWHPVLQFOXGLQJ
   JURXQGVXSSRUWDQGWHVWHTXLSPHQWDQG)$$86$)FRQWUROWRZHUGLVSOD\DQGUHSRUWLQJV\VWHPV

   ,DPIDPLOLDUZLWKWKHUHTXLUHPHQWVIRUFHUWLILFDWLRQRIDYLRQLFVV\VWHPVIRUURWRUFUDIWVXFKDVWKH
   6LNRUVN\&+(LQFOXGLQJYDULRXVKDUGZDUH7HFKQLFDO6WDQGDUGV2UGHUV762VKDUGZDUH
   WHVWLQJXQGHU'2&'(DQG)DQGVRIWZDUHUHTXLUHPHQWVLPSRVHGXQGHU'2%DQG&
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   PLOLWDU\DYLRQLFVV\VWHPVLQFOXGLQJVHYHUDOLQSDVWRUSUHVHQWXVHRQWKH&+KHOLFRSWHU,DP
   DOVRIDPLOLDUZLWKWKHVDIHJXDUGVDQGSURWHFWLYHV\VWHPVIRUHOHFWULFDODQGHOHFWURPHFKDQLFDO
   GHYLFHVLQERWKFLYLOLDQFRPPHUFLDODQGPLOLWDU\DYLDWLRQ

   ,DPDQDFWLYHJHQHUDODYLDWLRQDLUFUDIWSLORWKROGLQJDFRPPHUFLDOSLORW¶VOLFHQVHLVVXHGE\WKH
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   ZLWKDQGKDYHVHUYHGRQWKHERDUGRIGLUHFWRUVRIVHYHUDOYROXQWHHUSLORWRUJDQL]DWLRQVLQFOXGLQJ
   $QJHO)OLJKWDQG*UDFH)OLJKWRI$PHULFD7KHVHRUJDQL]DWLRQVSURYLGHIUHHWUDQVSRUWWRSDWLHQWV
   LQQHHGRIPHGLFDOWUHDWPHQWRUKXPDQLWDULDQDLG,KROGDQLQVWUXPHQWUDWLQJDQGYDOLGPHGLFDO
   FHUWLILFDWHDOORZLQJPHWRH[HUFLVH3LORWLQ&RPPDQGSULYLOHJHVLQERWKYLVXDODQGLQVWUXPHQW
   LHLQFORXGVFRQGLWLRQV,RZQDQGSLORWDVPDOOJHQHUDODYLDWLRQDLUFUDIW




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  ,KDYHEHHQUHWDLQHGE\6LNRUVN\$LUFUDIW,QFWRSURYLGHP\H[SHUWRSLQLRQVLQWKLVFDVH0\
  FRPSHQVDWLRQLVSHUKRXU0\FRPSHQVDWLRQLVQRWEDVHGRQWKHRXWFRPHRIDQ\OLWLJDWLRQ
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   $FFLGHQW$LUFUDIW

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  ZDVGHYHORSHGIURPDORQJOLQHRI+HDY\/LIWKHOLFRSWHUVIURPWKH&+$WKURXJKWKH&+
  'PRGHOV$QXPEHURIYDULDQWVDOVRVHUYHZLWKDOOLHGPLOLWDU\WKURXJKRXWWKHZRUOG
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  7KH&+(LVWKHGLUHFWGHVFHQGHQWRIWKH&+'EXWZLWKVXEVWDQWLDOO\VWURQJHUDQG
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  VWUXFWXUHLVDERXWVL[IHHWORQJHUDQGVWURQJHUWRVXSSRUWWKHLQFUHDVHGOLIWFDSDFLW\DQGFDUJR
  SD\ORDG(OHFWULFDOO\WKH&+(IHDWXUHVVRPHQHZHUDYLRQLFVHVSHFLDOO\SURWHFWLYH
  FRXQWHUPHDVXUHVEXWWKHEDVLFZLULQJDQGHOHFWULFDOV\VWHPGHVLJQUHPDLQYHU\VLPLODU

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         ,QYHVWLJDWLRQ'LYLVLRQ&,'3URYRVW0DUVKDO¶V2IILFH3020DULQH&RUSV$LU6WDWLRQ0&$60LUDPDU
         &$WKDW9)DQWDOYRZDVSLQQHGXQGHUD&DUJR+HOLFRSWHU&+±(DWWKH0DULQH+HDY\+HOLFRSWHU
         6TXDGURQ+0+ORFDWHGLQ+DQJDURQ0&$60LULPDU¶VIOLJKWOLQH«:LWQHVVLQWHUYLHZVUHYHDOHG
         9)RQDWOYRZDVRQHRIWKHDHULDOREVHUYHUVIRUWKHWUDLQLQJWKDWSDUWLFXODU&+(ZDVVFKHGXOHGWRFRQGXFW
         RQ0DU2QWKLVGD\9)RQWDOYRZDVUHVSRQVLEOHIRUSXOOLQJWKHFKRFNVDQGSLQVEHIRUHWKHDLUFUDIW
         GHSDUWHG'XHWRDQDSSDUHQWODQGLQJJHDUPDOIXQFWLRQ9)RQWDOYRZDVXQGHUQHDWKWKHDLUFUDIWZKHQLW
         FROODSVHGRQLWVOHIWVLGH


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  GHDWKDVEOXQWIRUFHWUDXPD

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  $VXEVHTXHQWLQYHVWLJDWLRQZDVFRQGXFWHGE\0DULQH&RUSSHUVRQQHODQG1&,6LQYHVWLJDWRUV
  6WDWHPHQWVE\ZLWQHVVHVLQGLFDWHGWKDWWKHDLUFUDIWSUHVHQWHGQRUHOHYDQWSUREOHPV7KHJHDU
  KDQGOHZDVUHSRUWHGWREHLQWKHGRZQSRVLWLRQDQGWKHJHDUSRVLWLRQLQGLFDWRUVVKRZHGDOOWKUHH
  ODQGLQJJHDU³GRZQDQGORFNHG´7KHSURFHGXUHIRUGHSDUWXUHFDOOVIRUWKHHQJLQHWREHVWDUWHG
  ZLWKDOOODQGLQJJHDUSLQVLQSODFH:LWKWKHHQJLQHDWWKHSLQVDUHWKHQSXOOHGVRWKDWWKH
  ODQGLQJJHDUFDQEHUHWUDFWHGRQFHLQIOLJKW

  6JW)RQWDOYRZDVUHVSRQVLEOHIRUWKHOHIWVLGH0$,1ODQGLQJJHDUVDIHW\SLQ$FFRUGLQJWR
  UHSRUWVWKHSHUVRQQHOZHUHXQDEOHWRUHPRYHDQ\RIWKHVDIHW\SLQVIRUWKHODQGLQJJHDUQRVH
  OHIWPDLQULJKWPDLQ6JW)RQWDOYRE\UHSRUWIDLOHGWRVXFFHVVIXOO\UHPRYHWKHOHIWODQGLQJ
  JHDUVDIHW\SLQ+HWKHQUHPRYHGWKHSLQIRUWKHDX[LOLDU\IXHOWDQNDQGVXEVHTXHQWO\XVHGWKDW
  SLQ³DVDWRROWRJHWWKHODQGLQJJHDUSLQRXW´



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  8SRQUHPRYDORIWKHOHIWVLGHPDLQODQGLQJJHDUVDIHW\SLQWKH&+(GURSSHGWRWKHOHIWVLGH
  6JW)RQWDOYRZDVFDXJKWXQGHUWKHOHIWXQGHUVLGHRIWKHDLUFUDIWDQGVXIIHUHGIDWDOLQMXULHV

  6XEVHTXHQWH[DPLQDWLRQERWKE\WKH0DULQH&RUSVDQGE\6LNRUVN\$LUFUDIWIDLOHGWR
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  SDUWLHVUHPDLQVWKDWWKHUHZDVPRVWOLNHO\LQDGYHUWHQWHQHUJL]DWLRQRIWKH3$ZLUHWREH
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  K\GUDXOLFV\VWHPDQGFDXVLQJWKHWKUHHVDIHW\SLQVWREHFRPH³VWXFN´>7KHVHVDIHW\SLQVDUH
  QRUPDOO\HDVLO\UHPRYHGZLWKMXVWOLJKWILQJHUHIIRUW@8SRQWKHIRUFHGUHPRYDORIWKHOHIWPDLQ
  ODQGLQJJHDUVDIHW\SLQE\6JW)RQWDOYRWKHOHIWPDLQGUDJVWUXWZDVDEOHWRPRYHWKHPDLQJHDU
  IRUZDUGVXIILFLHQWO\WKDWWKHZHLJKWRIWKHKHOLFRSWHUFDXVHGWKDWJHDUWRFROODSVH+RZHYHUDV
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  VWUXW7KLVVWUXWLVLQWXUQPRYHGE\WKHDSSOLFDWLRQRIK\GUDXOLFIOXLGIURPDXQLWNQRZQDVWKH
  ³8WLOLW\+\GUDXOLF0RGXOH´80±DPXOWLSXUSRVHFROOHFWLRQRIIOXLGYDOYHVDQGVROHQRLGV
  ZKLFKRSHUDWHWKHYDOYHV3UHVVXUHIRUWKH80LVIURPDFRQVWDQWK\GUDXOLFSXPSPHDQLQJLW
  RSHUDWHVZKHQHYHUWKHDLUFUDIWLVXQGHUSRZHUDWSVL

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  IURPUHWUDFWLQJZKHQWKHDLUFUDIWLVRQWKHJURXQGSULPDULO\E\LQWHUUXSWLQJSRZHUZKLFKLV
  SDVVHGWKURXJKWKHJHDUKDQGOHWRHLWKHUVLGHRIWKH80

  7KHODQGLQJJHDUSRUWLRQRIWKH80FRQVLVWVRIDQHOHFWULFDOO\RSHUDWHGVSULQJORDGHGYDOYH
  :KHQHQHUJL]HGWRWKH³83´SRVLWLRQK\GUDXOLFIOXLGSUHVVXUHFDQUHWUDFWWKHSLVWRQLQWKHVWUXW
  :KHQHQHUJL]HGLQWKH³'1´SRVLWLRQK\GUDXOLFIOXLGSUHVVXUHFDQH[WHQGWKHSLVWRQLQWKHVWUXW
  :KHQQHLWKHUWKH³83´RUWKH³'1´VROHQRLGFRLOLVHQHUJL]HGWKHYDOYHVHDOVERWKWXEHV
  FUHDWLQJDK\GUDXOLFORFNDQGSUHYHQWLQJPRWLRQRIWKHVWUXW,QQRUPDORSHUDWLRQZLWKWKHJHDU
  HLWKHUIXOO\GRZQRUXSWKHUHLVQRSRZHUWRHLWKHUWKH³'1´RUWKH³83´FRQWDFWRIWKH80
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  DQXPEHURIRWKHUV\VWHPVRQWKHDLUFUDIWZKLFKLQWHUDFWZLWKDQGUHVSRQGWRJHDUSRVLWLRQ6LQFH
  PRVWRIWKHVHDUHFRQVLGHUHGQRWUHOHYDQWWRWKHDFFLGHQWLQTXHVWLRQWKH\ZLOORQO\EHPHQWLRQHG
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  ZDUQLQJZKHQODQGLQJJHDULVXSDLUVSHHGLVOHVVWKDQNQRWVDQGHLWKHUWKHKHOLFRSWHULV
  EHORZIHHWRIDOWLWXGHRUWKHUDGDUDOWLPHWHULVXQUHOLDEOH,IWKHODQGLQJJHDUZDUQLQJIDFWRUV
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  V\VWHPZLOOZDUQWKHFRFNSLWRIWKHSRVVLELOLW\RIODQGLQJZLWKODQGLQJJHDUXSRUZLWKWRRKLJK
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  )RUVDIHW\DQGSURSHURSHUDWLRQRIWKHJHDUDQXPEHURILQWHUORFNGHYLFHVVLWHOHFWULFDOO\
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  SURWHFWVDJDLQVWLQDGYHUWHQWJURXQGLQJRIWKHSRZHUZLUHVXVHGIRUERWKJHDUUHWUDFWLRQDQG
  H[WHQVLRQ6KRXOGDZLUHLQVXODWLRQFKDIHWKURXJKRURWKHUZLVHPDNHHOHFWULFDOFRQWDFWZLWKWKH
  JURXQGHGVWUXFWXUHRIWKHDLUFUDIWRUDQRWKHUJURXQGHGZLUHFRQGXFWRUWKLVVPDOO$PSFLUFXLW
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  SRVLWLRQDQGWRQRWLI\WKHV\VWHPVXFKWKDWSRZHUFDQEHUHPRYHGWZRVHFRQGVDIWHUWKDW
  KDSSHQV:LWKWKHJHDUGRZQDQGWKHDLUFUDIWRQWKHJURXQGSRZHULVVHQWWKURXJKDOOWKUHHRI
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  GHOD\WLPHUZKLFKNHHSVWKHUHOD\FORVHGIRUWZRVHFRQGVDIWHUWKHHQHUJL]LQJVLJQDOLVUHPRYHG
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  VSULQJORDGHGLQWHUSRVHUWKDWSK\VLFDOO\SUHYHQWVWKHJHDUKDQGOHIURPEHLQJPRYHGIURPWKH
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  VZLWFKDVVHPEO\WKLVRIFRXUVHFDQQRWKDSSHQZLWKRXWILUVWGLVDEOLQJWKHLQWHUSRVHUVROHQRLGRU
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  GRZQOLPLWVZLWFKHVRSHQ$WWKLVWLPHSRZHUZLOOEHUHPRYHGIURPWKHJHDUKDQGOH'2:1
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   *HDU6DIHW\3LQV

  7KHILQDOVDIHW\LQWHUORFNIRUWKHODQGLQJJHDULVPHFKDQLFDOUDWKHUWKDQHOHFWULFDO(DFKJHDULV
  VXSSOLHGZLWKDVDIHW\SLQZKLFKILWVWKURXJKDFRUUHVSRQGLQJKROHLQWKHJHDU7KLVSK\VLFDOO\
  SUHYHQWVUHWUDFWLRQRIWKHJHDUHYHQLIDOORWKHULQWHUORFNVIDLO




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      dŚĞďůŽĐŬĚŝĂŐƌĂŵŝŶ&ŝŐƵƌĞϲĂƉƉĞĂƌƐƚŽŚĂǀĞĂŶĞƌƌŽƌŝŶƚŚĞĚƌĂǁŝŶŐŽĨƚŚĞŐĞĂƌŚĂŶĚůĞƐǁŝƚĐŚ͘

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                               )LJXUH±6DIHW\3LQLQ/DQGLQJ*HDU
  8QGHUQRUPDOFLUFXPVWDQFHVWKHSLQLVLQVHUWHGDQGUHPRYHGTXLWHHDVLO\7KHFHQWHUEXWWRQLV
  GHSUHVVHGUHOHDVLQJWZRSDZOVRQWKHIDUHQGRIWKHSLQ7KHSLQVOLSVLQWRWKHJHDUSLQKROH
  ZLWKRXWUHVLVWDQFH:LWKWKHSLQIXOO\LQVHUWHGDQGWKHEXWWRQUHOHDVHGWKHSDZOVH[WHQG±
  ORFNLQJWKHSLQLQWRWKHKROH1RWH7KHSLQLVVLJQLILFDQWO\ORQJHUWKDQWKHKROHWRWDO7KLV
  DOORZVWKHSLQWREHVOLSSHGEDFNDQGIRUWKZLWKRXWWKHFHQWHUEXWWRQSUHVVHGDQGZLWKRXWULVNRI
  DFFLGHQWDOO\SXOOLQJWKHSLQ

  6KRXOGWKHSLQVQRWEHUHPRYHGSULRUWRIOLJKWWKHK\GUDXOLFSUHVVXUHLVLQVXIILFLHQWWRRYHUFRPH
  WKHVDIHW\SLQ7KHJHDUZLOOMDPDJDLQVWWKHSLQDQGUHPDLQH[WHQGHG8QGHUWKHYHU\XQOLNHO\
  FKDQFHWKDWWKH80K\GUDXOLFYDOYHVKRXOGEHDWWHPSWLQJWRUDLVHWKHJHDUZLWKWKHSLQVWLOO
  LQVHUWHGDQGQRWLQIOLJKWUHTXLULQJE\SDVVLQJRUIDLOXUHRIPXOWLSOHLQWHUORFNVWKHSUHVVXUHRI
  WKHJHDUDWWHPSWHGPRWLRQZLOOWUDSWKHSLQHIIHFWLYHO\SUHYHQWLQJLWVQRUPDOUHPRYDO


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  $QLQYHVWLJDWLRQIROORZLQJWKHDFFLGHQWLQYROYHGDWHDPRILQVSHFWRUVJRLQJRYHUWKHJHDU
  HOHFWULFDODQGPHFKDQLFDOV\VWHPVRIWKHDFFLGHQWKHOLFRSWHU7KLVLVGHWDLOHGLQWKH0DULQH
  &RUSV&RPPDQG,QYHVWLJDWLRQ5HSRUW7KHNH\SRLQWVDUHLQGLFDWHGEHORZ

   5HSHDWDELOLW\

  ,QYHVWLJDWRUVDWWHPSWHGWRUHSOLFDWHWKHDFFLGHQWEXWZHUHXQDEOHWRGRVR(OHFWULFDO
  PHDVXUHPHQWVZHUHQRPLQDODQGWKHJHDURSHUDWHGQRUPDOO\>:LWKDSSURSULDWHVDIHW\
  SURWRFROV@1HLWKHUWKH3$QRU3$ZLUHVKDGSRZHU6LPLODUWHVWVZHUHSHUIRUPHGZLWK
  WKHDLUFUDIWRQMDFNV7HVWSHUVRQQHOIROORZHGDLUFUDIWVHWWLQJVDVSHUWKHVHWXSDWWKHWLPHRIWKH
  DFFLGHQWLQFOXGLQJFRFNSLWVZLWFKHV

   ,QWHUORFN7HVWLQJ

  ,QYHVWLJDWRUVWHVWHGWKHLQWHUORFNVRIWKHDFFLGHQWDLUFUDIWLQFOXGLQJWKHVFLVVRUVZLWFKHV
  UHVSRQVLEOHIRUSURGXFLQJWKH:HLJKWRQ:KHHOVLQIRUPDWLRQDQGLQWHUUXSWLQJSRZHUWRWKH
  ³83´SRVLWLRQRIWKHJHDUKDQGOHVZLWFK%RWKZRUNHGFRUUHFWO\7KLVWHVWZDVVSHFLILFDOO\
  SHUIRUPHGZLWKQRPLQDOZHLJKWFRPSUHVVLQJWKHODQGLQJJHDUVWUXWV

  ,QYHVWLJDWRUVWHVWHGWKHOLPLWVZLWFKHVRQWKHDFFLGHQWDLUFUDIWDQGGLGQRWILQGDQ\SUREOHPV

  7KHLQYHVWLJDWRUVWHVWHGWKHJHDUSRVLWLRQKDQGOHDQGIRXQGWKHVZLWFKHVRSHUDWHGFRUUHFWO\DQG
  ZDVLQJRRGFRQGLWLRQ

   $LUFUDIW:LULQJ

  7KHDLUFUDIWZLULQJUHODWHGWRWKHODQGLQJJHDUZDVWHVWHGIRUVWUD\YROWDJHDVZHOODVIRU
  FRQWLQXLW\%RWKWKHDLUFUDIWLQWHUQDOZLULQJDQGWKHODQGLQJJHDUZLUHKDUQHVVHVWHVWHGFRUUHFWO\
  9ROWDJHVZHUHLGHQWLILHGRQO\DVDQGZKHQWKH\VKRXOGRUVKRXOGQRWEHSUHVHQW

  ,QYHVWLJDWRUVQRWHGEDUHSRUWLRQVRIZLUHJRLQJWRWKH³'2:1´ODQGLQJJHDUFRQWUROYDOYH
  3$$QXPEHURIWHVWVZHUHSHUIRUPHGLQFOXGLQJDSSO\LQJ9GFSRZHUWRWKHEDUH
  SRUWLRQVRIWKH3$ZLUHDQGDWWHPSWLQJWROLQNWKRVHEDUHSRUWLRQVWRWKH3$ZLUHRUWR
  WKH3SOXJ7KH\ZHUHXQDEOHWRFUHDWHDFXUUHQWIORZLQWRWKH3$ZLUHSLQ


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  7HVWVZHUHSHUIRUPHGZLWKJHDUVDIHW\SLQVLQVHUWHGDQGLWZDVYHULILHGWKDWWKHDQDSSOLFDWLRQRI
  SRZHUWRWKH3$SLQZRXOGSURGXFHDFWLYDWLRQRIWKHK\GUDXOLFV³7KHODQGLQJJHDUSLQV
  ZHUHKDUGWRSXOODQGZKHQWKH\ZHUHFRPSOHWHO\UHPRYHGWKHJHDUPRYHGXS«´>3J
  &RPPDQG,QYHVWLJDWLRQ5HSRUW@

  7HVWLQJRIWKHJHDUFDEOHVZDVSHUIRUPHGDQGFRQWLQXLW\ZDVQRWHGDVDQGRQO\DVH[SHFWHG

   &RQFOXVLRQRI,QYHVWLJDWLRQ

  $OWKRXJKWKHH[DFWSRLQWRIIDLOXUHFRXOGQRWEHGHWHUPLQHGWKHQXPEHURILQWHUORFNVDQG
  ZDUQLQJV\VWHPVSUHYHQWLQJDQLQDGYHUWHQWJHDUUHWUDFWLRQSRLQWWRDVLQJOHVFHQDULR$Q
  HOHFWULFDO³VKRUW´ZKLFKGLUHFWO\RULQGLUHFWO\HQHUJL]HGWKHZLULQJEHWZHHQSLQ3$DWWKH
  80DQGWKH(SLQRIWKH*HDU&RQWURO+DQGOHDVVHPEO\VHHPHGWKHRQO\UHDVRQDEOHDQVZHU
  >7KHSKUDVH³GLUHFWO\RULQGLUHFWO\´ZLOOEHGLVFXVVHGLQPRUHGHWDLOLQDVXEVHTXHQWVHFWLRQ@


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  7KHEXONRIWKHZLULQJZLWKLQWKHKHOLFRSWHUH[FOXGLQJ5)DQWHQQDDQGRWKHU³VSHFLDOW\´FDEOHV
  LVVWUDQGHGFRSSHUZLUHZLWKLQVXODWLRQFROOHFWHGLQWREXQGOHVDQGVHFXUHGDJDLQVWWKHYDULRXV
  VWULQJHUVDQGSDWKVRIWKHZDOOVDQGFHLOLQJVRIWKHKHOLFRSWHU




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                        )LJXUH±&+(/DQGLQJ*HDU:LULQJ'LDJUDP

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                         )LJXUH±%XQGOHG:LULQJDORQJ+HOLFRSWHU:DOO
  7KHUHDUHWZRW\SHVRIZLUHLQVXODWLRQXVHIRUDOPRVWDOORIWKHKHOLFRSWHU

   .DSWRQ:LULQJ

  :KHQ.DSWRQZDVILUVWGHYHORSHGE\'X3RQWLQWKHODWHVLWZDVZLGHO\KDLOHGIRULWV
  LQVXODWLQJSURSHUWLHV±HVSHFLDOO\LQDLUFUDIW.DSWRQSURYLGHVH[WUHPHO\KLJKLQVXODWLRQ
  FRHIILFLHQWVIRUDJLYHQWKLFNQHVVDOORZLQJLQVXODWLRQVLPLODUWRRWKHUW\SHV±EXWZLWKDPXFK
  WKLQQHUWKLFNQHVVDQGUHVXOWLQJLQOHVVZHLJKW)RUDQDLUFUDIWWKHVHDUHERWKH[WUHPHO\YDOXDEOH
  SURSHUWLHV

  $OODLUFUDIWDUHOLIWOLPLWHG7KDWLVWKHUHLVIRUDJLYHQVHWRIFRQGLWLRQVDWRWDOJURVVZHLJKW
  WKDWFDQEHFRPHVDIHO\DLUERUQH$IWHUVXEWUDFWLQJWKH³HPSW\ZHLJKW´DQGIXHOZKDWLVOHIWLV
  WKH³XVHIXOORDG´WKHDLUFUDIWFDQFDUU\,QRWKHUZRUGVHYHU\RXQFHRIZHLJKWWKDWLVSDUWRIWKH
  DLUFUDIWLWVHOIEHFRPHVMXVWWKDWPXFKOHVVWKDWWKHDLUFUDIWFDQWUDQVSRUWVDIHO\

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  /LNHZLVHFDUJRVSDFHKXPDQRURWKHUZLVHLVDOVRFULWLFDOWRDLUFUDIW6LQFHPRVWFDUJRLV
  FDUULHGLQWHUQDOO\WRWKHDLUFUDIWWKHOHVVVSDFHWDNHQXSE\LQVWUXPHQWDWLRQDQGDLUFUDIW
  HTXLSPHQWDQGZLULQJWKHPRUHDYDLODEOHIRUFDUJR7KHLGHDRIWKLQDQGOLJKWZHLJKWLQVXODWLRQ
  IRUWKHPLOHVRIDLUFUDIWZLULQJVHHPHGOLNHDWUXHEOHVVLQJ

  8QIRUWXQDWHO\LWZDVOHDUQHGWKDW.DSWRQLQVXODWLRQVXIIHUVVXEVWDQWLDOGHJUDGDWLRQZKHQ
  VXEMHFWHGWRDEXVHPRLVWXUHKHDWDQGDFLGLFHQYLURQPHQWDOFRQWDPLQDQWV$QRXWHUFRDWLQJ
  RYHUWKH.DSWRQLWVHOIFDQKHOSLVRODWHWKH.DSWRQIURPWKHVHFRQWDPLQDQWVEXWRQO\LQVRIDUDV
  WKLVRXWHUFRDWLQJLWVHOIUHPDLQVLQWDFW0LOLWDU\DLUFUDIWDQGHVSHFLDOO\FDUJRKHOLFRSWHUV
  SUHVHQWDQH[WUHPHH[DPSOHRIH[DFWO\WKHW\SHRIFRQWDPLQDQWVWRZKLFK.DSWRQVKRXOGQRWEH
  H[SRVHG

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  $VDUHVXOWRIWKHSUREOHPVZLWK.DSWRQWKHPLOLWDU\EHJDQDVHULHVRIUHSODFHPHQWSURJUDPV
  LQFOXGLQJWKH&+(³6HUYLFH/LIH([WHQVLRQ3URJUDP´WRUHSODFHWKH.DSWRQLQVXODWHGZLUH
  ZLWKZKDWLVUHIHUUHGWRDV³6SHF´6SHFZLUHLQVXODWLRQIRUPDOO\$;;DQG
  $;;LVXVXDOO\XVHGLQD³GXDOZDOO´LQVXODWLRQLQRWKHUZRUGVWZROD\HUVRILQVXODWLRQ
  VXUURXQGLQJWKHFRQGXFWLYHZLUH:KLOH6SHFZLUHLVUHODWLYHO\WKLQDQGOLJKWLWGRHVQRW
  KDYHWKHVXSHULRULQVXODWLQJSURSHUWLHVZKHQFRPSDUHGWR.DSWRQ

  8QIRUWXQDWHO\LWLVP\XQGHUVWDQGLQJWKDWLVVXHVKDYHNHSWWKHUHSODFHPHQWSURJUDPIURP
  SURFHHGLQJDVRULJLQDOO\VFKHGXOHGDQGLWLVNQRZQWKDWPDQ\KHOLFRSWHUVLQFOXGLQJWKHDFFLGHQW
  KHOLFRSWHUVWLOODUHZLUHGODUJHO\ZLWK.DSWRQ


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  %HORZLVUHSRUWHGWKHFRQGLWLRQRIWKHZLULQJUHODWHGWRWKHDFFLGHQWDWLVVXH7KLVLQFOXGHVWKH
  SRVWUHSDLUJHQHUDOFRQGLWLRQRIWKHDFFLGHQWDLUFUDIWDVZHOODVPRUHGHWDLOHGH[DPLQDWLRQRIWKH
  ZLUHVUHPRYHGE\WKHLQYHVWLJDWLRQUHSDLUWHDPDW0DULQH&RUSV$LU6WDWLRQ0LUDPDU

   ([DPLQDWLRQRI:LULQJ±$LUFUDIW*HQHUDO

  :LULQJZLWKLQWKHUHSDLUHGDFFLGHQWDLUFUDIWZDVH[DPLQHGDWWKH0DULQH&RUSV$LU6WDWLRQ
  0LUDPDULQ0LUDPDU&DOLIRUQLD$QDGGLWLRQDOFRPSDQLRQ&+(KHOLFRSWHUZDVDOVR

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  DYDLODEOHIRUH[DPLQDWLRQ7KHYLVLWZDVXQFODVVLILHGQR''DQGWKHUHIRUHVRPHDUHDVRI
  WKHFUDIWZHUHH[FOXGHGIURPH[DPLQDWLRQDQGRUSKRWRJUDSKV,WLVQRWEHOLHYHGWKDWDQ\RI
  WKHVHDUHDVRUHTXLSPHQWZHUHUHOHYDQWWRWKHLQYHVWLJDWLRQ1RWHWKDWWKLVZLULQJGRHVQRW
  LQFOXGHWKHZLULQJUHPRYHGIRUUHSDLUVSRVWDFFLGHQWEXWGRHVLQFOXGHPXFKRIWKHUHODWHG
  ODQGLQJJHDUFRQWUROZLULQJ

   *HQHUDO&RQGLWLRQ

  7KHEXONRIWKHZLULQJUXQVZLWKLQWKHERG\RIWKHDLUFUDIWZKHUHLWLVJHQHUDOO\H[SRVHGWR
  QXPHURXVIOXLGVDQGSK\VLFDODWWDFNV7KHVHLQFOXGHEXWDUHQRWOLPLWHGWRVDOWZDWHURLO
  K\GUDXOLFIOXLGDQGDLUFUDIWZDVKIOXLGV3K\VLFDODWWDFNVLQFOXGHEXWDUHQRWOLPLWHGWRVDQG
  DQGVDOWVWUDQVSRUWHGFDUJRSHUVRQQHODQGWKHLUHTXLSPHQW




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  0XFKRIWKHZLULQJLVEXQGOHGDQGVHFXUHGZLWK]LSWLHVZLWKDIHZ$GHOFODPSVIRUVXSSRUW
  2WKHUDUHDDUHVLPSO\³KXQJ´DQGODFHGZLWKRQO\WKHZLULQJLWVHOIIRUVXSSRUW




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                )LJXUH±&DEOH%XQGOHZLWK=LS7LHVDQG$GHO&ODPSV




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  ,QJHQHUDOWKHFRQGLWLRQWKURXJKRXWWKHRSHQDUHDVRIWKHFDUJRED\IRUWKH6SHFZLUH
  DSSHDUHGEURDGO\WREHLQJRRGFRQGLWLRQ7KHZLUHLQVXODWLRQIRUWKH6SHFZDVFRYHUHGLQ
  GLUWDQGRLOEXWJHQHUDOO\DSSHDUHGLQWDFW>7KLVPD\DOVREHSDUWLDOO\DFFRXQWHGIRUE\WKHIDFW
  WKDWWKH6SHFZLUHLVJHQHUDOO\QHZHUWKDQWKHRULJLQDO.DSWRQ@




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  7KHUHZHUHKRZHYHUHYHQZLWKWKH6SHFZLULQJVLJQVRITXHVWLRQDEOHPDLQWHQDQFH7KLV
  LQFOXGHGWKHXVHRI=LS7LHVZKLFKZHUHIRXQGWREHELQGLQJWKHZLUHYHU\WLJKWO\DQGWKHXVHRI
  PXOWLSOHVSOLFHVXQGHUDVLQJOH=LS7LH




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   dŚĞŵŝůŝƚĂƌǇŚĂƐŝƐƐƵĞĚĂŶƵŵďĞƌŽĨŝƌ&ƌĂŵĞƵůůĞƚŝŶƐ;&ƐͿŽǀĞƌƚŚĞůŝĨĞŽĨƚŚĞ,Ͳϱϯ͘DĂŶǇŽĨƚŚĞƐĞĚŝƌĞĐƚ
  ƚŚĞŝŶƐƉĞĐƚŝŽŶĂŶĚƌĞƉĂŝƌĂƐŶĞĐĞƐƐĂƌǇ;ZEͿŽĨďŽƚŚƚŚĞ<ĂƉƚŽŶĂŶĚƚŚĞ^ƉĞĐͲϱϱǁŝƌŝŶŐ͘dŚĞƐĞƚǇƉŝĐĂůůǇŽƌĚĞƌƚŚĂƚ
  ĚĂŵĂŐĞĚǁŝƌĞƐďĞĐƵƚ͕ĐĂƉƉĞĚ͕ĂŶĚƐƉůŝĐĞĚƉĂƐƚƚŚĞĚĂŵĂŐĞĚƐĞĐƚŝŽŶʹďƵƚƚŚĂƚƚŚĞĚĂŵĂŐĞĚǁŝƌĞƐďĞůĞĨƚŝŶ
  ƉůĂĐĞ͘dŚĞƌĞƐƵůƚŽĨƚŚŝƐŝƐƚŚĂƚ͕ŽǀĞƌƚŝŵĞ͕ƚŚĞďƵŶĚůĞƐŐĞƚůĂƌŐĞƌ͕ďƵƚƚŚĞĐůĂŵƉƐƚǇƉŝĐĂůůǇĚŽŶŽƚ͘dŚŝƐƉƵƚƐ
  ŝŶĐƌĞĂƐĞĚƉƌĞƐƐƵƌĞŽŶƚŚĞǁŝƌĞƐ͕ĂŶĚŝŶĐƌĞĂƐĞĚůŝŬĞůŝŚŽŽĚĨŽƌĐŚĂĨŝŶŐ͘

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  %\FRQWUDVWWKH.DSWRQZLULQJLQVXODWLRQKDGYLVXDOO\DQGH[WHQVLYHO\GHJUDGHG




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                           )LJXUH±.DSWRQ'HJUDGDWLRQLQ%XQGOHV
  1RHOHFWULFDOWHVWLQJZDVSHUPLWWHGEXWQXPHURXVVSRWVRIEDUHPHWDOLQWKH.DSWRQLQVXODWHG
  ZLULQJDSSHDUHGHYLGHQW

  $VPHQWLRQHGDERYHWKH6SHFZLULQJDSSHDUHGJHQHUDOO\LQEHWWHUFRQGLWLRQ7KHUHZDVQR
  VLJQRIWKHZLGHVSUHDGORVVRILQVXODWLRQRXWHUFRYHULQJDVZDVVHHQZLWKWKH.DSWRQ&ORVHU
  LQVSHFWLRQKRZHYHUVKRZHGDQXPEHURIVFUDSHVDQGQLFNVLQDWOHDVWWKHRXWHULQVXODWLRQRIWKH
  6SHF




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                    )LJXUH±6SHF$SSDUHQW1LFNVDQG%XUQV*HQHUDO
  $JDLQZLWKRXWHOHFWULFDOWHVWLQJWKHGHSWKDQGVHYHULW\RIWKHVHFRXOGQRWEHGHWHUPLQHG

   8WLOLW\0RGXOH&RQQHFWRUV

  7KHDFFLGHQWDLUFUDIWKDGXQGHUJRQHUHSDLUVSULRUWRRXUDOORZHGH[DPLQDWLRQ:HZHUH
  KRZHYHUIXUQLVKHGSLFWXUHVRIWKHDUHDRIWKH8WLOLW\0RGXOHPDGHSULRUWRUHSDLUV7KHVH
  VKRZHG6SHFZLULQJZLWKDQXPEHURIXQTXHVWLRQDEO\GDPDJHGVSRWV




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                       )LJXUH±,QVSHFWLRQ30,/


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   ([DPLQDWLRQRI:LULQJ±/DQGLQJ*HDU8WLOLW\0RGXOH

  6L[VPDOOEDJVRIZLUHZHUHUHPRYHGIURPWKHDLUFUDIWE\WKHLQVSHFWLRQUHSDLUWHDP7KHVHZHUH
  SURYLGHGWRXVIRUPRUHGHWDLOHGH[DPLQDWLRQ7KHVHLQFOXGHGERWK6SHFDQG.DSWRQZLUHV
  ,QJHQHUDOWKH6SHFZLUHVDUHLGHQWLILHGE\WKHLURXWHULQVXODWLRQDEULJKWZKLWHLQVXODWLRQ
  7KH.DSWRQRXWHULQVXODWLRQLVDPRUHDPEHURUVHYHUHRIIZKLWHFRORU7KHLQQHU.DSWRQ
  LQVXODWLRQLVDGLVWLQFWFRSSHUJROGFRORUVLJQLI\LQJWKHDFWXDO.DSWRQWDSHZUDSSHGDURXQGWKH
  FRQGXFWLYHZLUHVWUDQGV

  7KHVL[EDJVDUHLGHQWLILHGDV

                %DJ±3SLQ$83VKRUWZLUH6SHF

                %DJ±383/DQGLQJ*HDU&QWOWR3SLQ,.DSWRQ

                %DJ±383IURP80WR-SLQ,PRVWO\.DSWRQ

                %DJ±3'1IURP80WR-PRVWO\.DSWRQ

                %DJ±3SLQ.WR3SLQ&PRVWO\.DSWRQ

                %DJ±3':1VKRUWZLUHV6SHF

  2IWKRVHEDJVWKHILUVWWKUHHZHUHRISULPDU\LQWHUHVWVLQFHHQHUJ\LQWRWKLVFLUFXLWDFWLYDWHVWKH
  ³83´VROHQRLG,QPDNLQJWKHDQDO\VLVFHUWDLQEDVHDVVXPSWLRQVZHUHPDGH7KHDFFXUDF\RI
  WKHVHDVVXPSWLRQVLVEDVHGXSRQFUHZWHVWLPRQ\DQGXSRQQRUPDORSHUDWLQJSURFHGXUHVDV
  RXWOLQHGLQWKHIOLJKWPDQXDOVIRUWKH&+(2QHSULPDU\DVVXPSWLRQZDVWKDWWKHODQGLQJ
  JHDUFRQWUROOHYHUZDVLQGHHGLQWKH³'2:1´SRVLWLRQDWWKHWLPHRIWKHDFFLGHQW

  :KLOHVDIHW\LQWHUORFNVVKRXOGSUHYHQWHQHUJL]DWLRQRIWKH³83´FLUFXLWHYHQZLWKWKHKDQGOH
  SRVLWLRQVHOHFWLQJ³83´DFRQVLGHUDEOHOHQJWKRI.DSWRQZLULQJIURPWKHJHDUKDQGOHWRWKHODVW
  :R:LQWHUORFNZDVQRWPDGHDYDLODEOHIRULQVSHFWLRQ$GGLWLRQDOO\WKHUHLVDVDIHW\SLQ
  LQWHUORFNWKDWLVVXSSRVHGWRSUHYHQWXSZDUGPRYHPHQWRIWKHJHDUKDQGOHZKLOHWKHOHIWPDLQ



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      EdKW^&ůŝŐŚƚDĂŶƵĂůEĂǀǇDŽĚĞů,Ͳϱϯ,ĞůŝĐŽƉƚĞƌ͕ϮϬϭϬ

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  JHDULVXQGHUZHLJKW,WZDVUHSRUWHGE\WKHLQVSHFWLRQWHDPWKDWWKLVZDVLQJRRGFRQGLWLRQEXW
  ZHZHUHQRWJLYHQWKLVWRH[DPLQHRXUVHOYHV

  /LNHZLVHWKHODQGLQJJHDUFRQWUROKDQGOHPRGXOHZDVQRWPDGHDYDLODEOHIRULQVSHFWLRQ7KH
  FRQGLWLRQRIZLULQJLQVLGHWKHPRGXOHWKHUHIRUHZDVEH\RQGRXUH[DPLQDWLRQ

  :HZHUHJLYHQUHSRUWVRQWHVWLQJRIWKHZLUHSRVLWLRQLQJDQGSODFHPHQWSRVVLELOLWLHVDGMDFHQWWR
  WKH80FRQQHFWRUV>0RUHZLOOEHGLVFXVVHGRQWKLVLQDVXEVHTXHQWVHFWLRQ@+RZHYHUWKH
  ZLUHVZHZHUHJLYHQIRUH[DPLQDWLRQKDGDOUHDG\EHHQFXWDQGUHPRYHG:HWKHUHIRUHWDNHWKHLU
  UHSRUWDVIDFWXDODEVHQWHYLGHQFHWRWKHFRQWUDU\

   %DJ±38WLOLW\0RGXOH3LQ$

  %DJFRQWDLQHGDVLQJOHVKRUWVWUDQGRI6SHFZLUHODEHOHGDVFRQQHFWLQJWRWKH&DQQRQSOXJ
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                                )LJXUH±%DJ3$83/LQN
  7KHUHZHUHVHYHUDOVPDOOQLFNVEXWRIQRWDEOHGHSWK2QHRIWKHVHZDVYLVLEO\WKURXJKWKHRXWHU
  OD\HURIWKH6SHFZLUHEXWGLGQRWDSSHDUWRKDYHFRPSURPLVHGWKHLQQHULQVXODWLRQ7ZR
  RWKHUVRQWKHRWKHUKDQGZHUHYLVLEO\GDPDJHGLQWRWKHFRQGXFWLYHVWUDQGV




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                        )LJXUH±'DPDJHWR2XWHU,QVXODWLRQ6SHF




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                  )LJXUH±%DJ'DPDJHWR:LUH,QFOXGLQJ%URNHQ6WUDQGV
  7KHDERYHGDPDJHLVUHSUHVHQWDWLYHRIDFRPSUHVVLRQEHWZHHQWZRREMHFWV,QDGGLWLRQWRWKH
  WRUQLQVXODWLRQDWOHDVWWZRVWUDQGVDUHEURNHQ6HYHUDORWKHUVDUHVHYHUHO\FRPSURPLVHGE\
  FRPSUHVVLRQDOPRVWWRWKHSRLQWRIVHSDUDWLRQ7KLVGDPDJHLVDOPRVWDOZD\VFDXVHGE\D


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  SLQFKLQJDFWLRQRUDE\FDWFKLQJWKHZLUHEHWZHHQWZRKDUGREMHFWVZLWKFRQVLGHUDEOHIRUFH7KH
  GDPDJHZDVOLNHO\FDXVHGE\DVLQJOHHYHQW

  $GLIIHUHQWW\SHRIGDPDJHLVVHHQQHDUWKHHQGRIWKHZLUHVHJPHQWQHDUWKHVSOLFH




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                      )LJXUH±%DJ&KDILQJ$EUDVLRQ'DPDJH6SHF
  8QOLNHWKHFRPSUHVVLRQGDPDJHDERYHWKLVGDPDJHLVFDXVHGE\UHSHDWHGZHDUDJDLQVWDQREMHFW
  7KHHYLGHQFHRIWZRDUHDVRIGDPDJHORZHUOHIWDQGXSSHUULJKWVXJJHVWWKDWWKHLQVXODWLRQ
  UXEEHGDJDLQVWVRPHWKLQJIRUDSHULRGRIWLPHEXWGLGQRWZHDUWKURXJKWKHLQVXODWLRQLQQHU
  OD\HU$WWKDWSRLQWWKHZLUH³VKLIWHG´VOLJKWO\RUWKHREMHFWDJDLQVWZKLFKLWZDVUXEELQJ
  VKLIWHGEHJLQQLQJDQHZZHDUVSRW7KLVSHUVLVWHGIRUDPXFKORQJHUSHULRGRIWLPHDQGOLNHO\
  DJDLQVWDUHODWLYHO\VPRRWKREMHFWVXFKDVDVPDOOK\GUDXOLFOLQH




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  7KLVFKDILQJQRWRQO\ZRUHWKURXJKERWKOD\HUVRIWKH6SHFLQVXODWLRQEXWDOVRZRUHZHOOLQWR
  WKHXSSHUVWUDQGVRIWKHFRQGXFWRUV1RWHWKHFRSSHULQWKHFHQWHU$WWKHWLPHRIWKHDFFLGHQWLW
  PD\KDYHEHHQSRVVLEOHWRGHWHUPLQHZLWKVRPHFHUWDLQW\ZKLFKZHDUVSRWRFFXUUHGILUVWDQGLI
  WKHPRUHUHFHQWVSRWZDVSHUKDSVRQJRLQJDWWKHWLPHRIWKHDFFLGHQW8QIRUWXQDWHO\ZLWKRXW
  SURWHFWLRQIURPWKHHOHPHQWVVLQFHWKHDFFLGHQWDQGJLYHQWKHWLPHEHWZHHQWKHDFFLGHQWDQG
  RXULQYHVWLJDWLRQWKLVLVQRORQJHUSRVVLEOH

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  7KLVEDJFRQWDLQVDORQJOHQJWKRIHQWLUHO\.DSWRQDSSUR[LPDWHO\IHHW3LQV3,DQG
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  $VZLWKWKHRWKHUZLUHVWKHORQJ.DSWRQVHJPHQWVVKRZHGPXOWLSOHGDPDJHDUHDV




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  7KHUHGWDSHDERYHVKRZVDUHDVRIGDPDJHWRWKH.DSWRQZLULQJ([DPLQDWLRQRIWKHZLUHXQGHU
  WKHPLFURVFRSHVKRZHGPDQ\SODFHVZKHUHWKHRXWHULQVXODWLRQRIWKH.DSWRQZDVFRPSOHWHO\
  JRQHEXWZKHUHYLVXDOREVHUYDWLRQVKRZHGZKDWDSSHDUHGWREHUHDVRQDEO\LQWDFW.DSWRQWDSH
  XQGHUQHDWKFRYHULQJWKHFRQGXFWLYHVWUDQGV




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  ,QRWKHUVHFWLRQVRIWKH.DSWRQZLUH83VLJQDOWR3FLUFXLWQRWRQO\ZDVWKHRXWHULQVXODWLRQ
  JRQHEXWWKH.DSWRQWDSHDSSHDUHGWRKDYHEHFRPHGHODPLQDWHGZLWKFOHDUVLJQVRILQWUXVLRQE\
  IRUHLJQOLTXLGV




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  7KHUHZHUHDWOHDVWWZRDUHDVLQFOXGLQJRQHDW3LQ3,ZKHUHWKH.DSWRQWDSHLQVXODWLRQZDV
  PLVVLQJHQWLUHO\2QHVSRWLQWKH.DSWRQZLUHZDVGHYRLGRIDQ\LQVXODWLRQDOOWKHZD\DURXQG
  WKHZLUH*LYHQWKHUHODWLYHO\FOHDQHGJHVWKLVLVHLWKHUWKHUHPDLQVRIDSUHYLRXVVSOLFHWR
  DQRWKHUFLUFXLWRUDFKDIHGSRUWLRQZKHUHWKHZLUHZDVDOORZHGWR³UROO´DJDLQVWWKHHGJHRID
  PHWDOVXUIDFHRUVWULQJHU,QYHVWLJDWRUVQRWHGEXWZHUHXQDEOHWRH[SODLQWKHH[DFWQDWXUHRIWKH
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  ^ŝŶĐĞƚŚĞƌĞůĞǀĂŶƚĂŶŶŽŶƉůƵŐƐǁĞƌĞŶŽƚƉƌŽǀŝĚĞĚ͕ŝƚŝƐŶŽƚƉŽƐƐŝďůĞƚŽƐĂǇƚŽǁŚĂƚĞǆƚĞŶƚƚŚĞĐŽŶĚƵĐƚŝǀĞǁŝƌŝŶŐ
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  7KLVEDJFRQVLVWHGRIDORQJOHQJWKRI.DSWRQZLUHIURPWKH8WLOLW\0RGXOHWR-,ZLWKD
  VKRUWVHJPHQWDSSUR[LPDWHO\LQFKHVORQJRI6SHFVSOLFHGWRRQHHQG$OVRLQFOXGHGZDVD
  VPDOODSSDUHQWMRLQWODEHOHG³8S/.3U±3LQ³7KLVZDVQHYHUHQWLUHO\LGHQWLILHG$QRWKHU
  VKRUWSLHFHRIZLUHDSSUR[LPDWHO\´ORQJZLWKD³RQHZLUHWRWZRZLUHV´VSOLFHDWRQHHQGZDV
  FXWIURPWKH.DSWRQOHQJWK

  7KHVKRUWFXW6SHFZLUHKDGVHYHUDOQLFNVDQGFXWVEXWPRVWGLGQRWDSSHDUWREHWKURXJKWKH
  LQQHUOD\HUJUH\RILQVXODWLRQ




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  $QRWKHUDUHDRIWKLVSLHFHRIZLUHKRZHYHUZDVFOHDUO\WKURXJKWRWKHFRQGXFWRU




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                            )LJXUH±%DJ6SHF,QVXODWLRQ&XW


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  $OVRRILQWHUHVWZDVZKHUHWKHVSOLFHKDGEHHQFXWIURPDQRWKHUZLUHSULRUWRH[DPLQDWLRQ
  8QOLNHWKHRWKHUIUHVKFXWWR6SHFWKHRWKHUFXWDSSHDUHGPXFKROGHUDQGWDUQLVKHG7KLVZDV
  RIFRQFHUQVLQFHLWOHIWFRQGXFWLYHVWUDQGVSRWHQWLDOO\H[SRVHG,WZDVQRWSRVVLEOH
  XQIRUWXQDWHO\WRGHWHUPLQHLIWKLVFXWZDVPDGHE\WKHLQYHVWLJDWLRQUHSDLUWHDPDW0LUDPDURU
  ZDVWKHUHVXOWRIVRPHRWKHUPXFKHDUOLHUFXWRUEUHDN




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  6HYHUDOVPDOOQLFNVRQWKHOHQJWKRI.DSWRQZLUHZHUHQRWHG$WOHDVWRQHVLJQLILFDQWVFUDSHZDV
  REVHUYHG,WZDVQRWFOHDUIURPYLVXDOREVHUYDWLRQKRZHYHULIWKLVSHQHWUDWHGWKHLQQHU.DSWRQ
  WDSHLQVXODWLRQ




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  7KHVWUDQJHREMHFWLQWKHEDJZDVVXEMHFWHGWR;UD\H[DPLQDWLRQ7KLVUHYHDOHGWZRZLUHV
  VSOLFHGLQWRZKDWDSSHDUHGWREHWZRDLUJDSGHYLFHVZLUHGLQVHULHV7KHH[DFWQDWXUHZDVQRW
  GHWHUPLQHG5RXJKO\WKLVLVZKDWRQHZRXOGH[SHFWRIVRPHNLQGRIRYHUYROWDJHOLJKWQLQJ
  VXSSUHVVRUEXWWKDWUHPDLQVRQO\DJXHVV




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  DYDLODEOHEXWZLOOQRWEHSUHVHQWHGKHUH7KHVHRWKHUEDJVFRQWDLQFLUFXLWZLUHVIURPWKH3
  ³'2:1´OLQN7KHUHZDVFRQVLGHUDEOHFRQFHUQJLYHQWRWKHVHZLUHVGXULQJWKHPLOLWDU\
  LQYHVWLJDWLRQEXWLWZDVUHDOL]HGWKDWWKHVHZLUHVFDQEHRQO\VHFRQGDULO\UHVSRQVLEOHDWEHVW
  7KLVLVEHFDXVHWKH'2:1OLQNLVQRWHQHUJL]HGE\WKHDLUFUDIWHOHFWULFDOV\VWHPRQFHWKHDLUFUDIW
  ODQGLQJJHDULVLQWKH³GRZQDQGORFNHG´SRVLWLRQLHZLWKWKH³GRZQOLPLWVZLWFK´
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   $GGLWLRQDO7HVWLQJDQG2EVHUYDWLRQV6(0

  &HUWDLQVSRWVRIFRPSURPLVHGLQVXODWLRQZHUHH[DPLQHGXQGHUD6FDQQLQJ(OHFWURQ0LFURVFRSH
  6(07KLVXQLWLQFOXGHGWKHFDSDELOLW\WRSHUIRUPPDWHULDODQDO\VLVYLD(QHUJ\'LVSHUVLYH6
  5D\$QDO\VLV(';±DPHWKRGWKDWDOORZVRQHWRYLHZPDQ\RIWKHPDWHULDOVXQGHUWKH
  HOHFWURQEHDPDQGGHWHUPLQHWKHLUFRPSRVLWLRQ,QVRPHDUHDVZKHUHWKHUHZHUHYLVLEOHPHWDO
  ZLUHVWUDQGVWKLV\LHOGHGQRVXUSULVHV6LOYHU$JIURPWKHZLUHSODWLQJZDVVHHQ,QWKHPRUH
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  $QDWWHPSWZDVPDGHWRILQG(';UHDGLQJVRIVLOYHURUFRSSHULQWKHDUHDVRIGDPDJHG.DSWRQ
  LQVXODWLRQ$VQRWHGHDUOLHUWKHUHZHUHSODFHVZHUHWKH.DSWRQZDVVLPSO\QRORQJHUFRYHULQJ
  WKHFRQGXFWLYHVWUDQGV+RZHYHUWKHUHZHUHRWKHUDUHDVZKHUHWKH.DSWRQWDSHZDVYLVLEO\
  GDPDJHGEXWLWZDVQRWSRVVLEOHWRYLVXDOO\GHWHUPLQHLIWKHGDPDJHZDVGRZQWRWKHZLUHV




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  7KHUHDUHRIFRXUVHOLPLWDWLRQVRQVXFKWHVWV)LUVWRQO\OLPLWHGDUHDVFDQEHWHVWHG6HFRQG
  DQGDUJXDEO\PRUHLPSRUWDQWWKH(';FDQRQO\UHSRUWZKDWLVGLUHFWO\XQGHUWKHHOHFWURQEHDP
  7KLVSURGXFHVWZRSRWHQWLDOO\IDOVHQHJDWLYHUHVXOWV

      • 1RQRUWKRJRQDO3HQHWUDWLRQV,IWKHUHLVDQDUFLQJKROHRURWKHUVXFKGDPDJHWKLV
         SURGXFHVDVPDOOKROHLQWKHLQVXODWLRQZLWKDFRQHRIFDUERQL]HGPDWHULDOVXUURXQGLQJLW
         PXFKOLNHDYROFDQR$QXPEHURIDUHDVZHUHWHVWHGZKLFKORRNHGYHU\PXFKOLNHVXFK
         DUFUHODWHGVSRWVEXWZLWKQRPHWDOGHWHFWHG+RZHYHUXQOHVVWKHEHDPLVORRNLQJ
         VWUDLJKWGRZQLQWRWKH³FUDWHU´LWZLOOQRWGHWHFWPHWDO

      • 'HODPLQDWLRQRI,QVXODWLRQ.DSWRQLVDSSOLHGDVDWDSHZUDSSHGLQRYHUODSSLQJDQG
         QRUPDOO\PXOWLSOHOD\HUVDURXQGWKHFRQGXFWLYHZLUHV,QDVLPLODUVHQVHWRWKDWDERYHLI
         WKHOD\HUVGHODPLQDWHYLVXDOO\REVHUYHGLQVRPHDUHDVWKHQWKH(';ORRNLQJVWUDLJKW
         GRZQRQWKHZLUHZLOOQRWUHSRUWPHWDO6RPHZKDWOLNHORRNLQJWKURXJKDWZLVWHGWXQQHO



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          DQGQRWVHHLQJOLJKWDWWKHRWKHUHQGWKHSDWKLVWKHUHEXW\RXDUHQRWDWWKHFRUUHFWDQJOH
          WRVHHLW

  $JDLQZKLOHVHYHUDODUHDVPD\RUPD\QRWKDYHEHHQUHSUHVHQWDWLYHRIDUFLQJQRQHZHUH
  FRQILUPHGE\WKH(';6XFKFRQILUPDWLRQZRXOGEHDVXIILFLHQWFRQGLWLRQEXWQRWDQHFHVVDU\
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   $GGLWLRQDO7HVWLQJDQG2EVHUYDWLRQV/HDNDJH

  $OHDNDJHWHVWZDVSHUIRUPHGRQWKHODUJHUZLUHVHJPHQWVIURPWKHVL[EDJV>6RPHVKRUWZLUHV
  ZHUHWRRVKRUWRUKDGH[SRVHGPHWDOWRRFORVHWRWKHHQGWREHSURSHUO\WHVWHG@$OHDNDJHWHVW
  RIWKLVW\SHLVVWUDLJKWIRUZDUG7KHZLUHVHJPHQWLVLPPHUVHGLQDFRQGXFWLYHEXWKDUPOHVV
  VROXWLRQVDOWZDWHUDQGDQRKPPHWHULVFRQQHFWHGWRRQHHQGRIWKHZLUHVHJPHQW%RWK
  VHJPHQWHQGVDUHKHOGDERYHWKHZDWHUOLQH1RUPDOO\WKHLQVXODWLRQRIWKHZLUHLVPHDVXUHGLQ
  WKHPDQ\ELOOLRQVRIRKPV+RZHYHUDQ\EUHDNLQWKHLQVXODWLRQWKDWDOORZVSHQHWUDWLRQRIWKH
  VDOWZDWHUWRWKHVXUIDFHRIWKHFRQGXFWLYHPDWHULDOZLOOVKRZDPXFKUHGXFHGUHVLVWDQFH

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  $VZLWKWKH6(0(';WHVWLQJDSRVLWLYHOHDNDJHWHVWLVVXIILFLHQWEXWQRWQHFHVVDU\
  &RQWDPLQDWLRQRIWKHOHDNDJHVSRWZLWKJUHDVHRUVRPHRWKHUQRQFRQGXFWLQJPDWHULDORUHYHQ
  DQDLUEXEEOHFDQSUHYHQWWKHVDOWZDWHUIURPUHDFKLQJWKHFRQGXFWLYHZLULQJ


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  $VPHQWLRQHGHDUOLHUWKH&+(KHOLFRSWHULVDGHVFHQGHQWRIHDUOLHUPRGHOVDQGHVSHFLDOO\WKH
  &+'7KHUHZHUHDQXPEHURILPSURYHPHQWVPDGHWRWKH³(´PRGHOWRVXSSRUWDKLJKHU
  SD\ORDGLQFOXGLQJDQDGGLWLRQDOHQJLQHDQGEODGHDVZHOODVRYHUDOOVWUXFWXUDOVWUHQJWK
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  IRUUDLVLQJDQGORZHULQJWKHODQGLQJJHDUUHPDLQYLUWXDOO\LGHQWLFDOIURPDV\VWHPVVWDQGSRLQW

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  UHVWULFWRUVDQGVROHQRLGV7KH&+'KDVDPRUHFRPSRQHQWVHWRIWKHVHXQLWVPRXQWHGWRD
  SDQHOUDWKHUWKDQDVLQJOHPRGXOH+RZHYHUWKHIXQFWLRQDOLW\DQGV\VWHPGHVLJQDUHWKHVDPH
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  WRZLUHQXPEHUVDQGFRQQHFWRUQXPEHUVDVZHOODVWKHVXEPRGXOHVHSDUDWLRQPHQWLRQHGDERYH
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  SODFHPHQWDQGNLQGEHWZHHQLWDQGWKH&+'7KHVDPHVWUXFWXUHRIPXOWLOHYHOVHULDO
  VZLWFKHVZDUQLQJOLJKWVDQGPHFKDQLFDOSLQVDQGLQWHUSRVHUVWKDWWKHPLOLWDU\IRXQGVXFFHVVIXO
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  7KHORVVRIHYLGHQFHSUHYHQWVDSRVLWLYHGHWHUPLQDWLRQDVWRWKHFDXVHRIWKHDFFLGHQW
  +RZHYHUE\IDUWKHPRVWOLNHO\GLUHFWFDXVHLVWKHLQDGYHUWHQWDSSOLFDWLRQRIHQHUJ\WRWKHZLUH
  FLUFXLWWHUPLQDWLQJDW3$RIWKH80*LYHQWKHVWDWHPHQWVE\WKHIOLJKWFUHZWKDWWKH
  ODQGLQJJHDUKDQGOHZDVLQWKHGRZQSRVLWLRQDQGJLYHQWKHSRVWDFFLGHQWWHVWLQJ5
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  1XPHURXVEDUHVSRWVZLWKYLVLEOHDFFHVVWRWKHFRQGXFWLYHZLUHVWUDQGVZHUHQRWHGERWKLQWKH
  6SHFDQGLQWKH.DSWRQZLUHV7KHPRVWREYLRXVVXVSHFWLVWKHUHIRUHGLUHFWFRQWDFWZLWK
  DQRWKHUFRQGXFWRUHLWKHUDFRQWDFWSLQRUDEDUHVSRWRQDQRWKHUDGMDFHQWZLUHZKLFKZDV
  HQHUJL]HGHLWKHUFRUUHFWO\RULQFRUUHFWO\DWWKHWLPHRIWKHDFFLGHQW

  1RYLVXDOHYLGHQFHZDVIRXQGWRHLWKHUVXSSRUWRUGLVSURYHWKLVSRVVLELOLW\8QIRUWXQDWHO\WKH
  ZLUHVZHUHQRWSUHVHQWHGIRULQVSHFWLRQLQVLWXDQGLWZDVQRWSRVVLEOHWRGHWHUPLQHZKDWWKH
  XQLQVXODWHGVSRWVRQWKHSUHVHQWHGZLUHVPD\KDYHFRPHLQFRQWDFWZLWK

  7KHVKRUW6SHF3$ZLUHWRWKHSLQZDVH[DPLQHGERWKE\6(0DQGXQGHUKLJKYLVXDO
  PDJQLILFDWLRQIRUVLJQVRIDUFPDUNVRUPDWHULDOWUDQVIHUDQGQRQHZDVIRXQG+RZHYHUDGLUHFW
  FRQWDFWZLWKWKHVDPHLQWHULRUVWUDQGVRIDQRWKHUZLUHZRXOGQRWEHH[SHFWHGWRSURGXFHVXFK
  VLJQVXQOHVVVXFKFRQWDFWZHUHUHSHDWHGO\PDGHRUXQGHUPXFKKLJKHUSRZHUWKDQLVUHTXLUHGWR
  DFWLYDWHWKH807KHPLOLWDU\LQYHVWLJDWLRQWHDPDWWHPSWHGWRGHWHUPLQHLIWKHVHEDUHVSRWV
  FRXOGEHIRUFHGWRFRPHLQWRFRQWDFWZLWKDQ\HQHUJL]HGZLUHVDWWKHWLPHRIWKHDFFLGHQWDQG
  ZHUHXQDEOHWRSURGXFHDSRVVLEOHFDXVDWLYHUHVXOW7KLVZLUHWKHUHIRUHPXVWEHUHDVRQDEO\
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  ,WLVSRVVLEOHIRUDGLIIHUHQFHLQHOHFWULFDOSRWHQWLDOWR³DUF´WKURXJKDQRUPDORUFRPSURPLVHG
  LQVXODWLRQDLU±IRUH[DPSOHLIWKHSRWHQWLDOLVKLJKHQRXJKRUWKHLQVXODWLQJPDWHULDOLVSRRU
  HQRXJK$WPRVSKHULFOLJKWQLQJLVWKHPRVWFRPPRQH[DPSOHWKDWPRVWSHRSOHDUHIDPLOLDUZLWK

  7KHHOHFWULFDOV\VWHPLQTXHVWLRQLVKRZHYHURQO\YROWV7KH,(((6WDQGDUG7HFKQLTXHVIRU
  +LJK9ROWDJH7HVWLQJJLYHV.9DVWKHUHTXLUHGSRWHQWLDOIRUMXVWDFPIUHHDLUDUFDW
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  +RZHYHULWLVLPSRUWDQWWRQRWHWKDWDUFLQJFDQRFFXULQRWKHUPHGLXPVLQFOXGLQJFRQGXFWLYH
  IOXLGV7KHUHWKHSRWHQWLDOGLIIHUHQFHUHTXLUHGIRUDJLYHQGLVWDQFHEHWZHHQFRQGXFWRUVLVPXFK
  OHVV1RWHDOVRWKDWDUFLQJLVYHU\GHSHQGHQWRQVKDSHRIWKHSRLQWRIFORVHVWDSSURDFK$
  VPRRWKURXQGVXUIDFHZLOOPXFKOHVVOLNHO\LQLWLDWHDQDUFWKDQZLOODQHHGOHSRLQWDVWKH
  LQVXODWLQJPDWHULDODURXQGWKDWSRLQWZLOOWHQGWRLRQL]H

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  WKDWRQO\DIHZVPDOODUHDVZHUHH[DPLQHGLQGHWDLO,WPXVWDOVREHUHFDOOHGWKDWVLJQVRIDUFLQJ
  FDUERQL]DWLRQRIVXUURXQGLQJPDWHULDOVPHOWLQJRIPHWDOHWFPD\EHUHPRYHGRUREVFXUHGE\
  VXEVHTXHQWKDQGOLQJRIWKHZLULQJLWVHOI&HUWDLQZLUHFRDWLQJVPD\DOVRQRWSURGXFHFDUERQL]HG
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  (YHQDIWHUWKHDFFLGHQW&+(KDGEHHQ³FOHDQHGDQGSUHSDUHG´IRURXULQVSHFWLRQWKH
  HOHFWULFDOZLULQJLQVLGHWKHKHOLFRSWHUZDVOLWHUDOO\GULSSLQJYDULRXVIOXLGVLQFOXGLQJK\GUDXOLF
  RLODQGKHDYLHURLOV6XFKIOXLGVLQFOXGLQJUHVLGXHIURPVDOWZDWHUVSUD\FOHDQLQJVROXWLRQVDQG
  RWKHUXQNQRZQVROXWLRQVFDQEHDQGJHQHUDOO\DUHFRQGXFWLYH7ZRDGMDFHQWEXWQRW
  HOHFWULFDOO\WRXFKLQJEUHDNVLQZLUHLQVXODWLRQFDQEHYLHZHGDVWZRFRQGXFWRUVVHSDUDWHGE\D
  UHVLVWRU±DUHVLVWRUZKRVHYDOXHFKDQJHVRYHUWLPHDQGZLWKFRPSRVLWLRQDQGWHPSHUDWXUH

  7KHUHLVQRH[DFWGHWHUPLQDWLRQRIWKHIOXLGFRQWDPLQDQWVDWWKHWLPHRIWKHDFFLGHQW+RZHYHUD
  UHSUHVHQWDWLYHPL[WXUHRIYDULRXVK\GUDXOLFIOXLGVRLOVVDOWVDQGDLUFUDIWDSSURYHGZDVKIOXLGV
  ZDVWHVWHGVLQJO\DQGLQFRPELQDWLRQ:KHQDSSOLHGWRVPDOOZLULQJLQVXODWLRQGDPDJHDUHDV
  VLPLODUWRWKRVHVHHQLQWKHUHPRYHG&+(ZLUHVYDOXHVDVORZDV.2KPVZHUH
  REVHUYHG,RQL]DWLRQRIWKHIOXLGVRYHUWLPHZDVREVHUYHGDVZHOODVHOHFWURO\VLVSURGXFLQJ
  VHSDUDWLRQRIFHUWDLQFKHPLFDOV

  7KLVHTXDWHVWRDSSUR[LPDWHO\P$RIFXUUHQWDW9GF,WLVXQOLNHO\WKDWWKLVYDOXHLV
  VXIILFLHQWWRSURPRWHVLJQLILFDQWPRYHPHQWRIWKHJHDUVROHQRLGZLWKLQWKH80+RZHYHULW
  LQGLFDWHVWKHSRWHQWLDOIRUVXFKPRYHPHQWJLYHQWKHULJKWFRQGLWLRQVDQGHVSHFLDOO\LQOLJKWRI
  P\XQGHUVWDQGLQJWKDWWKH&+(ZDVZDVKHGWKHPRUQLQJRIWKHDFFLGHQW

  ,WPXVWDOVREHQRWHGWKDWVXFKOHDNDJHZLOOQRWQHFHVVDULO\SURGXFHDQ\ORQJWHUPVLJQVVXFKDV
  FDUERQL]DWLRQRIWKHZLUHLQVXODWLRQPXFKOHVVDUFGDPDJHWRWKHZLUHVWUDQGVWKHPVHOYHV7KLV
  SKHQRPHQRQLVQRWWKHVDPHDVDUFLQJDQGGRHVQRWSURGXFHDUFWUDFNLQJVLJQV

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  7KHSXUSRVHRIWKHHOHFWULFDOOHDNDJHWHVWLQJEHWZHHQDGMDFHQWZLUHVRIGLIIHUHQWSRWHQWLDOVLVWKH
  FRQFHUQIRUPRWLRQRIWKHVROHQRLGZLWKLQWKH80LQUHVSRQVHWRUHODWLYHORZFXUUHQWV7KH80
  VROHQRLGIRUWKH83'2:1K\GUDXOLFVLVDQHOHFWURPHFKDQLFDOGHYLFH,WFRQVLVWVRIWZR
  QRUPDOO\FORVHGSLORWYDOYHDVVHPEOLHVZKLFKSRVLWLRQWKHEDODQFHGODQGLQJJHDUFRQWUROODS

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  DVVHPEO\DJDLQVWVSULQJIRUFH7KLVGLUHFWVK\GUDXOLFIOXLGWRUDLVHRUORZHUWKHDLUFUDIWODQGLQJ
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  (QHUJL]LQJWKHVROHQRLGFRLOLQHLWKHUWKH83RU'2:1SLORWYDOYHUHWUDFWVWKHSOXQJHUDOORZLQJ
  IOXLGSUHVVXUHWRSXVKWKHVHDOLQJEDOODZD\IURPWKHSUHVVXUHVHDW7KLVGLUHFWVSLORWSUHVVXUHWR
  SRVLWLRQWKHODSDVVHPEO\WRDOORZK\GUDXOLFIORZWKURXJKSDVVDJHVLQWKHODSDVVHPEO\DQG
  PDQLIROGWRWKHRXWOHWSRUW:KHQGHHQHUJL]HGWKHODSDVVHPEO\LVUHSRVLWLRQHGE\VSULQJIRUFH
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  ,QQRUPDORSHUDWLRQVXFKDV\VWHPLVIUHHIURPK\GUDXOLFOHDNDJHZKHQQRWXQGHUSRZHUDQG
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  YROWDJHFXUUHQWUDWLQJZKLFKLVJXDUDQWHHGWRFDXVHDSURSHUO\RSHUDWLQJ80WRFRQWUROWKHIXOO
  K\GUDXOLFSUHVVXUHZLWKLQDPLQLPXPVSHFLILHGWLPH,QRWKHUZRUGVWKH80PD\RSHUDWH
  VDWLVIDFWRULO\ZLWKDPXFKVPDOOHUDPRXQWRISRZHU(VSHFLDOO\LWPD\RSHUDWH³RXWRIVSHF´
  ZLWKDPXFKORZHUDPRXQWRUSRZHU)XUWKHUDUHODWLYHO\VPDOODPRXQWRI³OHDNDJHFXUUHQW´
  PD\VPDOOPRYHPHQWRIWKHEORFNLQJEDOODQGSOXQJHUVXFKWKDWWKHK\GUDXOLF³ORFN´LVSDUWLDOO\
  UHOHDVHGDQGK\GUDXOLFIOXLGSUHVVXUHLVLQWURGXFHGLQWRWKHUHWUDFWLRQFKDPEHU

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  UHWUDFWLRQVLGHRIWKHVWUXWWKHSUHVVXUHZLOOHYHQWXDOO\UHDFKWKHIXOOK\GUDXOLFSUHVVXUHRIWKH
  SXPS36,LIWKHVWUXWLVPHFKDQLFDOO\ORFNHGE\WKHJHDUVDIHW\SLQ5HOHDVHRIWKHVDIHW\
  SLQZRXOGEHYHU\GLIILFXOWDQGWHVWLQJVKRZHGLPSRVVLEOHWRSHUIRUPZLWKQRPHFKDQLFDO
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  5HSRUW5GHVFULEHVWHVWLQJRIWKHUHWUDFWVWUXWDWYDULRXVSUHVVXUHVDQGFRPSUHVVLRQ
  ORDGV7KHLQYHVWLJDWLYHWHDPZDVDEOHWRJHWVWUXWXQORFNDQGUHWUDFWLRQZLWKSUHVVXUHVGRZQ
  DURXQG36,DQGZLWKSRXQGVRIFRPSUHVVLRQ9DULRXVRWKHUFRPELQDWLRQVSURGXFHG
  ERWKVLPLODUDQGFRQIOLFWLQJUHVXOWV±EXWVKRZWKDWVXFKORZHUOHYHOSUHVVXUHVVXFKDVZRXOGEH
  EXLOGLQJXSGXHWROHDNDJHFRXOGSURGXFHERWKDVDIHW\SLQWKDWKDGWREHSULHGRXWDQGDVWUXW
  WKDWZRXOGEHJLQWRUHWUDFWDWOHDVWIDUHQRXJKIRUWKHZHLJKWRIWKH&+(WRFROODSVHWKH
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  7KHDERYHGLVFXVVLRQKDVIRFXVHGRQWKHDSSOLFDWLRQRIHQHUJ\EHWZHHQVRPHXQNQRZQEXW
  GHOLEHUDWHO\HQHUJL]HGZLUHDQGWKHFLUFXLWWHUPLQDWLQJDW3$,WLVQRWQHFHVVDU\WKDWVXFKD
  FRQQHFWLRQH[LVW,QVWHDGDQLQGLUHFWFRQQHFWLRQFDQDFKLHYHWKHVDPHUHVXOW

  ,QVXFKDFRQQHFWLRQDZLUHZKLFKLVSDUWRIWKH3$FLUFXLWSDWKZRXOGEHFRPSURPLVHGLQ
  VXFKDPDQQHUWKDWLWDOORZHGWUDQVIHURIHQHUJ\EHWZHHQLWVHOIDQGDQRWKHUZLUHE\DQ\RIWKH
  PHDQVGLVFXVVHGDERYH7KLVVHFRQGZLUHPD\QRWKRZHYHUEHDZLUHZKLFKZRXOGQRUPDOO\
  EHHQHUJL]HGDWWKLVWLPH&RQQHFWLRQWRWKLVVHFRQGZLUHFRXOGWKHUHIRUHKDYHKDSSHQHGDW
  RWKHUWLPHVEXWZRXOGQRWSURGXFHWKHDFFLGHQWVFHQDULR

  7KLVVHFRQGZLUHZRXOGWKHQLQWKLVVFHQDULRFRPHLQWRFRQWDFWE\DQ\RIWKHPHDQVDERYH
  ZLWKDWKLUGZLUHZKLFKZDVHQHUJL]HG7KHIORZRIHQHUJ\ZRXOGEHVXIILFLHQWWRDIIHFWWKH80
  DQGDWWHPSWUHWUDFWLRQEXWWKLVLQGLUHFWFRQQHFWLRQZRXOGPDNHORFDWLRQRIWKHFRQWDFWSRLQWV
  HYHQPRUHGLIILFXOWLIQRWLPSRVVLEOH

  1RWHWKDWLQVXFKDVFHQDULRDWOHDVWRQHRIWKHFRQWDFWSRLQWVZRXOGOLNHO\EHGLUHFWSK\VLFDO
  FRQWDFWRIDGMDFHQWEDUHVSRWVRIZLUHVWUDQGV>*LYHQWKHUHODWLYHO\KLJKUHVLVWDQFHLQD
  ³OHDNDJH´VFHQDULRDQGJLYHQWKDWWZRVXFKGLVSODFHGFRQQHFWLRQVZRXOGEHDGGLWLYHLQ
  UHVLVWDQFHWKHOLNHOLKRRGRIVXIILFLHQWFXUUHQWIORZLVDORZSUREDELOLW\@1RWHDOVRWKDWJLYHQ
  WKHIDLOXUHWRLGHQWLI\DUFSRLQWVWKHSUREDELOLW\ZRXOGEHWKDWWKHGLUHFWSK\VLFDOFRQWDFWZRXOG
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  DUHDVWRWKHLQVXODWLRQLQERWKDQGWKHUHIRUHRQO\DSUREDELOLW\FDQEHDVVHVVHG

  7KHGDPDJHWRWKH6SHFZLUHOHDGLQJWRWKH3$SLQLVVLJQLILFDQWDQGWKHUHIRUHZRXOG
  QRUPDOO\EHDSULPHVXVSHFW+RZHYHUWKHVHZLUHVKDYHJUHDWHUVHSDUDWLRQIRUDVLJQLILFDQW
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  >$OWKRXJKWULHGWKH3$ZLUHFDQEHH[FOXGHGVLQFHWHVWLQJVKRZHGWKDWLWZDVFRUUHFWO\QRW
  SRZHUHGZLWKJHDUGRZQDQGORFNHG@

  'DPDJHWR.DSWRQLQVXODWLRQKDVEHHQFLWHGDVWKHFDXVHLQQXPHURXVPLOLWDU\DQGFLYLOLDQ
  DLUFUDIWDFFLGHQWVDQGLQFLGHQWV+(¶VKDYHUHSRUWHGHQJLQHRYHUVSHHGVDQGVHYHUHIOLJKW
  FRQWUROSUREOHPVDOOWUDFHGWR.DSWRQ>0+(OHFWULFDO:LULQJ'HJUDGDWLRQ@$
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  DLUFUDIWZKLFKLQFOXGHG.DSWRQZLULQJZHUHWUDFHGWREHLQJFDXVHGE\RUUHODWHGWRWKH
  SURSHUWLHVRI.DSWRQZLULQJ6L[WHHQLQFLGHQFHVZHUHQRWUHODWHGWRWKH.DSWRQZLULQJ)RXU
  LQFLGHQFHVFRXOGQRWEHGHWHUPLQHG

  ,QD&+(VXIIHUHGDJHDUFROODSVHGXULQJWD[L$OOWKUHHODQGLQJJHDUUHWUDFWHG
  XQFRPPDQGHGDOOWKUHHVDIHW\SLQVZHUHDOUHDG\SXOOHG,WZDVGHWHUPLQHGE\LQYHVWLJDWRUV
  WKDW³EDUH.DSWRQZLULQJEHWZHHQWKH/DQGLQJ*HDU&RQWURO3DQHODQGWKHXWLOLW\PRGXOHZDVWKH
  FDXVHRIWKHPLVKDS´>&RPPDQG,QYHVWLJDWLRQ5HSRUW@

  *LYHQWKHKLVWRU\RIWKH.DSWRQZLULQJDQGJLYHQWKDWWKHUHLVPXFKPRUH.DSWRQLQVXODWHG
  ZLULQJLQWKHVXVSHFWFLUFXLWU\WKDQWKHUHLV6SHFHYHQZKHQFRQVLGHULQJWKHSRVVLELOLW\RI
  PRUHGDPDJHSHUIRRWZLWKWKH6SHFZLULQJLQWKHVPDOODUHDDGMRLQLQJWKH80LWLVPRUH
  OLNHO\WKDQQRWWKDWWKHSLHFHRIGDPDJHGZLULQJZKLFKDOORZHGHQHUJ\LQWRWKH3$FLUFXLW
  ZDVLQVXODWHGZLWK.DSWRQ


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  $VRIWKLVWLPH,KDYHQRWVHHQWKHH[SHUWUHSRUWVIURP3ODLQWLII¶VH[SHUWV,WLVP\XQGHUVWDQGLQJ
  WKDW3ODLQWLIIPD\OLNHO\VXJJHVWWKDW6LNRUVN\VKRXOGKDYHDGGHGDGGLWLRQDOVDIHW\LQWHUORFNVDQG
  RWKHUFRPSRQHQWDVVHPEOLHVLQRUGHUWRKDYHSRVVLEO\SUHYHQWHGWKLVDFFLGHQW7KHVHPD\
  SRVVLEO\LQFOXGHWKHIROORZLQJZKLFK,GLVFXVVEHORZ

   $GGLWLRQDO,QWHUORFNV

  ,WLVP\XQGHUVWDQGLQJWKDW3ODLQWLII¶VH[SHUWVPD\DVVHUWWKDWWKHDFFLGHQWKHOLFRSWHUVKRXOGKDYH
  EHHQHTXLSSHGZLWKDGGLWLRQDODQGUHGXQGDQWLQWHUORFNVWRSUHYHQWWKHJHDUUHWUDFWLRQ,IXUWKHU
  XQGHUVWDQGWKDWWKHVHIDOOLQWRWZRFDWHJRULHV3LQ5HPRYDODQG80³83´$FWLYDWLRQ

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   3LQ5HPRYDO3UHYHQWLRQ

  3ODLQWLII¶VH[SHUWVDSSDUHQWO\DVVHUWWKDWWKH&+(VKRXOGKDYHEHHQHTXLSSHGZLWKVRPH
  PHFKDQLVPPHFKDQLFDORUHOHFWULFDOLVQRWH[SODLQHGZKLFKZRXOGKDYHSUHYHQWHGUHPRYDORI
  WKHJHDUVDIHW\SLQV,QSRLQWRIIDFWWKH&+(KDVH[DFWO\VXFKDGHYLFH±WKHVDIHW\SLQDQG
  KROHLWVHOI

  :KHQWKHJHDUDWWHPSWVWRUHWUDFWZLWKWKHVDIHW\SLQVWLOOHQJDJHGWKHSLQLVFDXJKWE\WKHRXWHU
  DQGLQQHUKROHVLQWRZKLFKLWLVLQVHUWHG7KLVDSSOLHVDQDWWHPSWHGVKHDULQJIRUFHZKLFKWUDSV
  WKHSLQ7KHSLQVKRXOGQRUPDOO\EHHDVLO\VOLGLQDQGRXWRIWKHKROHZLWKRXWXQXVXDOHIIRUWDQG
  EDFNDQGIRUWKZLWKLQWKHKROHZLWKDVLQJOHILQJHU7KLVZDVWHVWHGGXULQJLQVSHFWLRQDW
  0LUDPDUDQGZKLOHWKHVDIHW\SLQKROHGRHVQRWDSSHDUWRKDYHVLJQLILFDQWVODFNWKHHDVHRI
  H[WUDFWLRQZLWKWKHVDIHW\EXWWRQGHSUHVVHGZDVVXUSULVLQJ

  ,WLVP\XQGHUVWDQGLQJWKDWZLWKDQ\VLJQLILFDQWK\GUDXOLFUHWUDFWLRQSUHVVXUHDJDLQVWWKHVWUXW
  WKHSLQFDQQRWEHUHPRYHGZLWKWKHILQJHUVDQGKDQGVDORQH7KLVZDVFRQILUPHGE\WHVWLQJ
  XQGHUUHSRUW5:LWKRQO\RUWKHUDWHG36,SUHVVXUHWKHVDIHW\SLQ
  FRXOGQRORQJHUEHSXOOHGRXWE\KDQG$FFRUGLQJWRWKHUHSRUW³WKHVDIHW\SLQZDVWKHQSULHG
  RXWZLWKDVFUHZGULYHUDQGSOLHUV«´

  $FFRUGLQJWRZLWQHVVHV6JW)RQWDOYRH[SHULHQFHGH[DFWO\WKDWDEQRUPDOUHVXOW7HVWLPRQ\
  LQGLFDWHVWKDWKHKDGWRVWRSKLVPDQXDODWWHPSWDWUHPRYDODQGUHWULHYHDQRWKHUSLQIURPWKH
  DX[LOLDU\IXHOWDQN+HWKHQXVHGWKDWSLQWRIRUFHRXWWKHJHDUVDIHW\SLQ2QO\WKHQGLGWKHJHDU
  DFWXDOO\UHWUDFW

  ,I3ODLQWLII¶VH[SHUWVDUHVXJJHVWLQJVRPHVRUWRIHOHFWULFDOPHFKDQLVPIRUH[DPSOHDIODSWKDW
  IOLSVGRZQRYHUWKHSLQLISRZHULVDSSOLHGWR3$WKHQWKLVLVSRWHQWLDOO\DGHFUHDVHLV
  VDIHW\DQGDFWXDOO\DGGVWRWKHOLNHOLKRRGRIDQLQDGYHUWHQWHQHUJL]LQJRIWKH3$FLUFXLW
  7KLVDQGUHODWHGLVVXHVDUHGLVFXVVHGXQGHUWKH³LQWHUORFNV´VHFWLRQEHORZ

   $GGLWLRQDO(OHFWULFDO,QWHUORFNV

  $QDLUFUDIW¶VVXFFHVVOLYHVDQGGLHVE\LWVXVHIXOORDGVRPHWLPHVOLWHUDOO\7KHXVHIXOORDGLV
  WKHGLIIHUHQFHEHWZHHQWKHJURVVZHLJKWRIWKHDLUFUDIWDQGWKHHPSW\ZHLJKWRIWKHDLUFUDIWDQG



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  WKDWDVVXPHV]HURIXHOZHLJKW(YHU\WKLQJSHRSOHDQGFDUJRDQGIXHOWKDWJRHVLQWRWKHDLUFUDIW
  DIWHUWKDWLVWKHXVHIXOORDG±DQGWKDWLVOLPLWHGE\WKHJURVVZHLJKWDQGE\WKHVSDFHDYDLODEOH

  7KHMRERIDKHDY\OLIWFDUJRWURRSKHOLFRSWHUVXFKDVWKH&+(LVWRGHOLYHUWKDWFDUJRRU
  WURRSVWRZKHUHLWQHHGVWREHZKHQLWLVQHHGHG7KHUHIRUHWKHQH[WFRQFHUQLVGLVSDWFK
  UHOLDELOLW\

  7KLVLVQRWWRVD\WKDWVDIHW\LVQRWDFRQFHUQ1RRQHZDQWVWREHLQMXUHGE\WKHYHKLFOHWKH\DUH
  UHO\LQJXSRQ7KDWVDIHW\KRZHYHUPXVWDOZD\VDQGHVSHFLDOO\LQPLOLWDU\DLUFUDIWEH
  WHPSHUHGE\WKHUHTXLUHPHQWRIWKHDLUFUDIWWRSHUIRUPLWVPLVVLRQ7KHVDIHVWDLUFUDIWRXWWKHUHLV
  DUJXDEO\RQHWKDWQHYHUPDQDJHVWRJHWRIIRIWKHJURXQG$QGWKDWIRUDFRPEDWYHKLFOHPHDQW
  WRJRLQKDUP¶VZD\LVQRWDFFHSWDEOH

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  (YHU\LWHPWKDWGRHVQRWFRQWULEXWHWRWKHFRPEDWPLVVLRQRIWKHDLUFUDIWPXVWKDYHLWVZHLJKW
  EDODQFHGDJDLQVWWKHYDOXHRIVRPHWKLQJWKDWGRHV(YHQDVPDOOUHOD\IRUPLOLWDU\KHOLFRSWHUV
  PXVWEHSDQHOPRXQWHGDQGKDUGHQHGDJDLQVWYLEUDWLRQ7\SLFDOZHLJKWVDUHXSWRR]IRUD
  VPDOOQRQSRZHUKDQGOLQJUHOD\$WR]JUDPVWKDWUHOD\PXVWEHRIIVHWE\WKHORVVRI
  IRUH[DPSOH$.EXOOHWVJUDPVHDFK%XWPXFKZRUVHDGGLQWKHZHLJKWRIWKH
  FRQQHFWLQJZLUHDQGLWFDQHDVLO\DGGXSWRDVLJQLILFDQWSRUWLRQRIDFRPEDWVROGLHU

  7KHSUREOHPLVRIFRXUVHFXPXODWLYH$VLQJOHVPDOOSDUWFDQDOZD\VEHDFFRPPRGDWHG
  VRPHKRZ³-XVWGRQ¶WOHWWKDWVROGLHUKDYHEUHDNIDVWDQGLWZLOOEDODQFHRXW´%XWWKHSUREOHPLV
  QRWMXVWRQHFRPSRQHQW7KHUHDUHWKRXVDQGVRIFLUFXLWVPDQ\WLHGWR9GFSRZHUGLUHFWO\RU
  LQGLUHFWO\$QGZLWKZLULQJLQVXODWLRQGHJUDGHGDVZDVIRXQGLQWKHVXEMHFWDLUFUDIWHYHU\RQHRI
  WKRVHZLUHVPD\EHVXEMHFWWRSUREOHPV$WKRXVDQGUHOD\VDWR]HDFKLVSRXQGV±
  SRXQGVZKLFKPXVWFRPHGLUHFWO\RXWRIWKHXVHIXOORDGRIWKHDLUFUDIW

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    dŚĞ,ͲϱϯŝƐϵϵĨĞĞƚůŽŶŐĂŶĚϮϴĨĞĞƚŚŝŐŚ͘dŚĞhDŝƐŵŽƵŶƚĞĚŶĞĂƌƚŚĞƚŽƉǁŝƚŚ͕ŽĨĐŽƵƌƐĞ͕ƚŚĞůĂŶĚŝŶŐŐĞĂƌĂƚ
  ƚŚĞďŽƚƚŽŵ͘:ƵƐƚĂƐŝŶŐůĞƐƚƌĂŶĚŽĨǁŝƌĞ͕ĨƌŽŵƚŚĞĐŽĐŬƉŝƚƚŽƚŚĞŐĞĂƌǁĞůůƚŽƚŚĞhDǁŽƵůĚĂďŽƵƚϲϱĨĞĞƚŝŶůĞŶŐƚŚ͘

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  $PLOLWDU\YHKLFOHPXVWEHDEOHWRGLVSDWFKZKHQLWLVQHHGHGWRVXSSRUWWKHSXUSRVHIRUZKLFKLW
  ZDVFUHDWHG(DFKDQGHYHU\DGGLWLRQDOLQWHUORFNDQGJRQRJRFRPSRQHQWDFWXDOO\UHGXFHVWKH
  GLVSDWFKUHOLDELOLW\RIWKHDLUFUDIW

  7KHSXUSRVHRIDVDIHW\LQWHUORFNLVWRSUHYHQWDQXQVDIHDFWLRQLQWKHHYHQWRIIDLOXUHRIVRPH
  RWKHUFRPSRQHQWRUZLULQJLQFOXGLQJSHUVRQQHO%XWWKHVHVDIHW\LQWHUORFNVWKHPVHOYHVDUHQR
  PRUHWKDQDGGLWLRQDOFRPSRQHQWVDQGWKH\DQGWKHLUDVVRFLDWHGZLULQJDUHVXEMHFWWRWKHH[DFW
  VDPHIDLOXUHUDWHVDVDUHWKHFRPSRQHQWVWKH\DUHSURWHFWLQJDJDLQVW7KLVOHDGVFRUUHFWO\WR
  UHVXOWLQJ³IDOVHSRVLWLYHV´LQIDLOXUHGHWHFWLRQ7KDWLVWKHYHKLFOHLVWDNHQRXWRIVHUYLFHQRW
  EHFDXVHWKHUHLVDIDLOXUHRIDQHFHVVDU\SDUWRIWKHYHKLFOHRUEHFDXVHWKHYHKLFOHLVXQVDIHEXW
  EHFDXVHDQDGGLWLRQDOVDIHW\LQWHUORFNWKRXJKWWKDWWKHUHZDVDSUREOHPZLWKWKHYHKLFOH

  ,QWKHFLYLOLDQDXWRPRWLYHZRUOGWKHUHKDYHEHHQDFFLGHQWVEHFDXVHVRPHRQHDWWHPSWHGWRVWDUW
  WKHLUFDUZLWKWKHFDUVWLOOLQD³PRWLRQ´JHDU'ULYHRU5HYHUVH7RHQKDQFHVDIHW\WKH
  'HSDUWPHQWRI7UDQVSRUWDWLRQVWDUWHGUHTXLULQJWKDWFDUVVROGLQWKH8QLWHG6WDWHVEHHTXLSSHG
  ZLWKDWUDQVPLVVLRQLQWHUORFN±DSLQDQGUHOD\V\VWHPWKDWSUHYHQWVWKHFDUIURPEHLQJVWDUWHG
  XQOHVVLWLVLQ1HXWUDORU3DUN7KHUHLVOLWWOHDUJXPHQWWKDWWKLVKDVKDGVRPHEHQHILFLDOVDIHW\
  UHVXOWV±EXWLWKDVDOVRFDXVHGPDQ\UHSDLUSUREOHPVZLWKDXWRPRELOHVZKLFKUHIXVHGWRVWDUWQRW
  EHFDXVHWKHDXWRPRELOHZDVQRWLQ3DUNEXWEHFDXVHWKHVDIHW\LQWHUORFNWKRXJKWWKHDXWRPRELOH
  ZDVQRWLQ3DUN

  ,QWKHFLYLOLDQZRUOGLWLVDFFHSWDEOHWRFDXVHSHRSOHWRPLVVZRUNRURWKHUSRVVLEO\LPSRUWDQW
  HYHQWVDQGVXIIHUVLJQLILFDQWUHSDLUFRVWVWRRWKHUZLVHFRUUHFWO\RSHUDWLQJDXWRPRELOHVLQRUGHU
  WRSUHYHQWHYHQDVPDOOQXPEHURIDFFLGHQWV,QZDUWKHHTXDWLRQFKDQJHV(YHU\WKLQJWKDW
  SUDFWLFDOO\FDQEHGRQHWRSURWHFWPLOLWDU\SHUVRQQHOVKRXOGEHGRQH±EXWWKDWSURWHFWLRQPXVWEH
  ZHLJKHGDJDLQVWWKHSXUSRVHRIWKDWSHUVRQEHLQJWKHUHLQWKHILUVWSODFH

   $GGLWLRQDO/DQGLQJ*HDU,QWHUORFNV

  ,WLVVWURQJO\VXVSHFWHGWKDW3ODLQWLII¶V([SHUWVZLOODUJXHWKDWWKH\DUHQRWDVNLQJIRUWKRXVDQGV
  RIDGGLWLRQDOVDIHW\GHYLFHVDQGLQWHUORFNVEXWMXVWRQH7KH\ZLOOOLNHO\DUJXHWKDWDVLQJOH
  UHOD\PRXQWHGFORVHWRWKH3SOXJZRXOGKDYHSUHYHQWHGWKLVHQWLUHDFFLGHQW6XFKDUHOD\
  FRQWUROOHGE\WKHJHDUVFLVVRUVZLWFKRUVZLWFKHVZRXOGLQWHUUXSWSRZHUWRWKH³83´VROHQRLG


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  DQGSUHYHQWDQLQDGYHUWHQWHOHFWULFDOVKRUWWRZKDWLVFXUUHQWO\WKH3$FLUFXLWIURPUHDFKLQJ
  WKHVROHQRLGFRLO

  ,WLVGLIILFXOWWRDUJXHDJDLQVWVXFKORJLF'LIILFXOWWKDWLVXQWLORQHUHDOL]HVWKDWWKHDUJXPHQWLV
  PDGHIURPWKHVWDQGSRLQWRIKLQGVLJKW+RZHYHUWUDJLFWKHGHDWKRI6JW)RQWDOYRZDVDVLQJOH
  IDWDOLW\GXHWRDVLQJOHZLUHIDXOWLQDKHOLFRSWHUZLWKPDQ\VXFKSRWHQWLDOIDXOWV$OORIWKRVH
  ZLUHVDUHWKHUHIRUDUHDVRQ±ZKHWKHULWLVWRFRQWUROWKHUDPSRUWKHWDLOVNLGRUWKHHQJLQHVRU
  WKHODQGLQJJHDU0RVWRIWKRVHZLUHVFRXOGK\SRWKHWLFDOO\FDXVHSRWHQWLDOO\IDWDOSUREOHPVLID
  PDOIXQFWLRQRFFXUV6RWKLVEHFRPHVQRWDTXHVWLRQDERXWDVLQJOHLQWHUORFNEXWKXQGUHGV±LI
  QRWWKRXVDQGVRILQWHUORFNVDQGWKHVHQVRUVDQGZLULQJWRFRQWUROWKHP

  )RFXVLQJRQO\RQDVLQJOHODQGLQJJHDUZLUHVHHPVWRPDNHWKHSUREOHPPXFKVLPSOHU,QIDFW
  KRZHYHUHYHQWKDWVLQJOHVXJJHVWHGLQWHUORFNLVQRWDVVLPSOHDVLWZRXOGVHHP

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  ,WLVVXVSHFWHGWKDW3ODLQWLII¶VH[SHUWVZLOOVXJJHVWWKDWRQHVKRXOGKDYHVXVSHFWHGWKDWDZLUH
  ZRXOGHYHQWXDOO\FKDIHWKURXJKRUEHGDPDJHGDWMXVWVXFKDVSRWVXFKWKDWWKH3$SLQ
  ZRXOGEHFRPHLQDGYHUWHQWO\HQHUJL]HGZKLOHWKHDLUFUDIWZDVRQWKHJURXQGDQGRQHZRXOG
  WKHUHIRUHKDYHDGGHGDQDGGLWLRQDOUHOD\WRWKH³´ZLUHH[LWLQJWKHODQGLQJJHDUFRQWUROSDQHO
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  2IFRXUVHORRNLQJDWWKHDERYHFLUFXLWWKHV\VWHPDOUHDG\KDVPDQ\OD\HUVRILQWHUORFNVDQG
  SURWHFWLRQGHYLFHVLQWKHFLUFXLW

      • $/DQGLQJ*HDU&LUFXLW%UHDNHUWRSUHYHQWILUHLQWKHFDVHRIDVKRUWRIWKHZLULQJWR
          JURXQG




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      • /DQGLQJ*HDU&$0/RFN8S/LPLWVZLWFKHVWRGHWHFWWKDWWKHJHDULVXSDQGSUHYHQW
         FRQWLQXHGHUURQHRXVRSHUDWLRQRIWKHJHDU80LQIOLJKW

      • $UHOD\WRRSHQWKHFLUFXLWDQGUHPRYHSRZHUWZRVHFRQGVDIWHUWKHJHDULVXSDQGORFNHG

      • $OHIWJHDUVFLVVRUVZLWFKWRSUHYHQWSRZHUIURPUHDFKLQJWKH80LIZHLJKWLVRQZKHHOV

      • $UHGXQGDQWULJKWJHDUVFLVVRUVZLWFKWRSUHYHQWSRZHUIURPUHDFKLQJWKH80LIZHLJKWLV
         RQZKHHOV

      • $QLQWHUSRVHUORFNLQJSLQWRSUHYHQWPRYHPHQWRIWKHJHDUOHYHUWRWKH83SRVLWLRQLI
         ZHLJKWLVRQWKHOHIWPDLQZKHHO

      • $QDGGLWLRQDOVHWRIVFLVVRUVZLWFKFRQWDFWVRQWKHOHIWPDLQJHDUWRFRQWUROWKHSRZHUWR
         XQORFNWKHLQWHUSRVHURQO\LIZHLJKWLVRIIWKHOHIWPDLQZKHHO

      • $JHDUSRVLWLRQVHWRIOLJKWVWRZDUQWKHSLORWLIDQ\RIWKHJHDULVQRWIXOO\ORFNHGLQWR
         SRVLWLRQ

      • $PDQXDOLQGLFDWRUWRZDUQWKHSLORWLIDQ\RIWKHJHDULVQRWIXOO\ORFNHGLQWRSRVLWLRQ

      • $VHWRIODQGLQJJHDUVDIHW\SLQVWRSUHYHQWJHDUUHWUDFWLRQXQWLOWKHDLUFUDIWLVUHDG\IRU
         PLVVLRQIOLJKW

      • 1RWVKRZQ$GGLWLRQDOJURXQGDLUVDIHW\UHOD\VDQGLQWHUORFNVGULYLQJOLJKWVDQGKRUQV
         WRZDUQWKHFUHZRIXQVDIHJHDUFRQGLWLRQV

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  $ELWRIFRPSDULVRQ7KH$LUEXV$LVDIRXUHQJLQHLQWHUFRQWLQHQWDODLUFUDIWXVHGE\D
  QXPEHURIDLUOLQHVWRWUDQVSRUWXSWRFLYLOLDQSDVVHQJHUV:LWKDOPRVWIO\LQJLWZDVILUVW
  EXLOWLQ±QRWORQJEHIRUHWKH&+(LQTXHVWLRQ,WFRVWVDOPRVWPLOOLRQLQWRGD\¶V
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  7KH$KDVXSDQGGRZQOLPLWVZLWFKHVDVGRHVWKH&+(DQGLWKDV:HLJKWRQ:KHHOV
  VZLWFKHVDVGRHVWKH&+(>$FWXDOO\WKH$XWLOL]HVWZRZHLJKWVLJQDOV±D:HLJKW21

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  :KHHOVDQGDFRPSOHPHQWDU\:HLJKW2)):KHHOV@,WGRHVQRWKRZHYHUKDYHDQ
  HOHFWURPHFKDQLFDOLQWHUSRVHUWRSUHYHQWPRYHPHQWRIWKHJHDUKDQGOH1RUGRHVWKH$KDYHD
  VHWRISK\VLFDOSLQVWRSUHYHQWJHDUUHWUDFWLRQZKLOHRQWKHJURXQG

  ,QVSLWHRIWKLVWKH$KDVDQH[FHOOHQWVDIHW\UHFRUG6WLOO,ZDVDEOHWRORFDWHDSSUR[LPDWHO\
  WKLUWHHQJURXQGDFFLGHQWV7KHVHLQFOXGHGWD[LLQJLQWRDSDVVHQJHUEXVWDNLQJRIIIURPD
  WD[LZD\DQGDWOHDVWWZRFROOLVLRQVZLWKSDUNHGSODQHV1RWDVLQJOHRQHRIWKHVHJURXQG
  LQFLGHQWVLQYROYHGLQDGYHUWHQWJHDUUHWUDFWLRQV±LQVSLWHRIWKHORZHUQXPEHURILQWHUORFNV
  :KDWWKH$KDGLQVWHDGZDVSURSHUPDLQWHQDQFHRIWKHZLULQJDQGV\VWHPVDOUHDG\GHVLJQHG
  DQGLQVWDOOHGLQFOXGLQJ.DSWRQZLULQJ

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   $GGLWLRQDO5HOD\,QWHUORFN

  ,WLVDVVXPHGWKDWWKH3ODLQWLIIVZLOODVPHQWLRQHGHDUOLHUVXJJHVWWKDWWKH3$FLUFXLWZLUHEH
  FXW,WLVDVVXPHGWKHQWKDWWKH\ZLOOVXJJHVWDUHOD\RIVRPHW\SHEHLQVWDOOHGDWWKHFXWVXFK
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  FRQWUROSRZHUWRWKHFRLOV/RJLFDOO\ZHPXVWFRQQHFWWKHFRLOWRDVRXUFHRI³:HLJKWRQ

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  :KHHOV´LQIRUPDWLRQ+RZHYHULWLVQRWUHDVRQDEOHWRXVHWKHH[LVWLQJVLJQDOIURPWKH5LJKW
  *HDU6FLVVRUV6ZLWFK7KDWZRXOGSURYLGHOLWWOHLIDQ\QHZSURWHFWLRQVLQFHLIWKHVZLWFK
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  0HDQZKLOHWKHUHOD\PXVWEHPRXQWHGRQDQDSSURSULDWHUHOD\SDQHO±EHFDXVHWKHKHOLFRSWHU
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  VLPSO\EH³GXFWWDSHG´RQDQ\ZKHUHLQWKHDLUFUDIW6RHYHQLQWKHVLPSOLILHGEORFNGLDJUDPZH
  KDYHWKHIROORZLQJ




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  1RZWKHWUXO\LPSRUWDQWTXHVWLRQ±KDYHZHUHDOO\LPSURYHGWKHVDIHW\DQGGHVLJQRIWKH
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  7RDGGUHVVWKLVRQHVLQJOHSLHFHRIFLUFXLWZLUH3$ZHKDYHDGGHG

         • $OHIWVFLVVRUVVZLWFK

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         • $QHZFRQQHFWRU3RUDQDGGLWLRQDOFRQQHFWRU

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         • $GGLWLRQDOPDLQWHQDQFHSURFHGXUHVDQGGRFXPHQWDWLRQ

  3OXVLWLVFULWLFDOWRUHFDOOWKDWDOORIWKHDERYHFRPSRQHQWVDUHVXEMHFWWRPDOIXQFWLRQVLQFOXGLQJ
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  $QGLWPXVWEHUHPHPEHUHGDOORIWKLVZDVWRHOLPLQDWHRQHSDUWLFXODUSRVVLELOLW\RIRQH
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  ,KDYHEHHQWROGWKDWWKH&+(ZDVGHVLJQHGE\6LNRUVN\WRLQFOXGH³VLGHSDQHOV´DQGRWKHU
  SURWHFWLYHVXUIDFHVFRYHULQJWKHFXUUHQWO\H[SRVHGZLULQJ7KHVHSURWHFWLYHSDQHOVZRXOGKHOS
  SUHYHQWFRQWDFWEHWZHHQFDUJRDQGWKHZLULQJDQGVRIWHQVSUHDGRXWDQGDEVRUEGDPDJHIURP
  HUUDQWFDUJR7KHVHSDQHOVZRXOGDOVRKHOSSUHYHQWHQYLURQPHQWDOGDPDJHIURPVRPHRIWKH
  IOXLGVZKLFKDWWDFNWKHZLULQJLQVXODWLRQHVSHFLDOO\WKH.DSWRQDVZHOODVPLQLPL]HIOXLG
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  WKDWDWWKHWLPHRIP\LQVSHFWLRQRIERWKWKHDFFLGHQWKHOLFRSWHUDQGWKHH[HPSODUDW0LUDPDUQR
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  7KHIROORZLQJREVHUYDWLRQVDQGRSLQLRQVH[SUHVVHGEHORZDUHJLYHQZLWKDKLJKGHJUHHRI
  HQJLQHHULQJFHUWDLQW\7KH\DUHWUXHDQGDFFXUDWHWRWKHEHVWRIP\NQRZOHGJHDQGDUH
  VXSSRUWHGE\WHVWLQJDQDO\VLVDQGE\H[KDXVWLYHLQVSHFWLRQRIWKHZUHFNDJHDQGRWKHUSK\VLFDO
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       %DUHPHWDODOORZLQJSRWHQWLDOPHWDOWRPHWDOFRQWDFWDQGHQHUJ\WUDQVIHUZDVFRQILUPHG
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       1RODQGLQJJHDUFDEOLQJ33DQG3IURPWKHDFFLGHQWDLUFUDIWZDVSURYLGHG
         IRULQVSHFWLRQ

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         DLUFUDIWZHUHSURYLGHGIRULQVSHFWLRQ

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                 JHQHUDOFRQGLWLRQ«´,WLVQRWFOHDUH[DFWO\ZKLFK³ZLUH´LVEHLQJUHIHUHQFHGRU
                 KRZWKH\DUHDSSO\LQJWKHWHUP³YHU\JRRGFRQGLWLRQ´HVSHFLDOO\LQOLJKWRIWKH
                 VXEVHTXHQWVWDWHPHQWWKDWWKHUHZHUH³VHYHUDODUHDVRIGDPDJHDQGDSSDUHQW
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       7KHDFFLGHQWLQYROYLQJ6JW)RQWDOYRZDVQRWIRUHVHHDEOHRWKHUWKDQDVDJHQHUDO
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                SUHYHQWLQDGYHUWHQWJHDUUHWUDFWLRQXQGHUDQ\UHDVRQDEOHDQGIRUHVHHDEOHVHWRI
                FLUFXPVWDQFHV

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      5HIHUHQFHG0DWHULDOV

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      SKRWRVDQGGRFXPHQWVDUHDOVRLQFOXGHG,QDGGLWLRQ,VSHFLILFDOO\QRWHXVHRIWKHIROORZLQJ
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